Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 1 of 133 Page ID #386




                                                                   Exhibit 7
                                             P. Mot. for Summ. J./D. Expert Report

                                           Court: S.D. Ill. Case No. 3:21cv540-NJR
                                                                  Pacific Legal Foundation
                                                              555 Capitol Mall, Suite 1290
                                                      Sacramento CA 95814 – 916.419.7111
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 2 of 133 Page ID #387




                                  Expert Report of
                                Alicia M. Robb, Ph.D.


                                   In the matter of
                   Morton v. Vilsack, 3:21-cv-00540-NJR (S.D. Ill.)




                                   January 7, 2022
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 3 of 133 Page ID #388




                                                TABLE OF CONTENTS
 I.     SUMMARY OF PRINCIPAL CONCLUSIONS ............................................................ 1

 II.    EXECUTIVE SUMMARY ............................................................................................... 2

 III.   STATEMENT OF QUALIFICATIONS ......................................................................... 6

 IV.    SCOPE OF WORK............................................................................................................ 7

        A.         QUESTIONS CONSIDERED ......................................................................................... 7

        B.         COMPENSATION ....................................................................................................... 7

        C.         MATERIALS RELIED UPON ....................................................................................... 7

 V.     OVERVIEW OF FSA AND ITS LOAN PROGRAMS AND SERVICES ................... 8

        A.         FSA LENDING PROGRAMS ....................................................................................... 8

                   1.        Loan application process .......................................................................... 10

                   2.        Loan servicing options .............................................................................. 12

        B.         OTHER RELATED USDA PROGRAMS ..................................................................... 15

 VI.    THERE IS SUBSTANTIAL EVIDENCE OF HISTORICAL DISCRIMINATION
        WITHIN USDA’S LOAN PROGRAMS ...................................................................... 16

                   1965 USCCR Report ............................................................................................. 18

                   1982 USCCR Report ............................................................................................. 22

                   Litigation: 1997-2013 ........................................................................................... 24

                   1997 CRAT Report ................................................................................................ 29

                   1997 OIG Audit ..................................................................................................... 31

                   2011 Jackson Lewis Report .................................................................................. 34

                   Congressional Hearings ....................................................................................... 36

 VII.   MINORITY FARMERS CONTINUE TO SUFFER THE EFFECTS OF PAST
        DISCRIMINATION IN USDA LOAN PROGRAMS ................................................. 38

        A.         THE EVIDENT FAILURE OF PRIOR EFFORTS TO REMEDIATE HISTORIC
                   DISCRIMINATION IN USDA LOAN PROGRAMS AND ITS EFFECTS ........................... 38

        B.         EXISTING DISPARITIES BETWEEN MINORITY AND NON-MINORITY FARMERS ....... 40

                                                                   i
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 4 of 133 Page ID #389




                     1.        Underrepresentation of minority farmers ................................................. 41

                               i.         Underrepresentation based on comparisons with the national
                                          population ..................................................................................... 41

                               ii.        Underrepresentation based on comparisons with the rural
                                          population ..................................................................................... 47

                               iii.       Underrepresentation based on comparisons with state-level
                                          population data ............................................................................. 50

                     2.        Smaller farms and lower revenues of minority farms ............................... 55

                     3.        Lower net worth of minority farmers ........................................................ 72

                     4.        The differences between minority and non-minority farmers are not
                               primarily attributable to race-neutral factors .......................................... 74

           C.        EXISTING DISPARITIES ARE CONSISTENT WITH THE EXPECTED EFFECTS OF PAST
                     DISCRIMINATION IN USDA LOAN PROGRAMS ....................................................... 78

           D.        CYCLICAL EFFECTS OF PAST DISCRIMINATION IN USDA LOAN PROGRAMS ......... 91

                     1.        Higher rates of delinquency, default, and foreclosure among minority
                               farmers ...................................................................................................... 92

                     2.        Less access to government payments by minority farmers ....................... 96

                     3.        Less access to private credit by minority farmers .................................. 100

                     4.        Borrower discouragement and distrust of USDA ................................... 103

 VIII. CONCLUSION .............................................................................................................. 109

 LIST OF APPENDICES .......................................................................................................... 110

           A.        CV OF ALICIA ROBB .................................................................................... 111

           B.        LIST OF MATERIALS REVIEWED ............................................................ 117

           C.        ADDITIONAL TABLES .................................................................................. 122

           D.        LIST OF TABLES AND FIGURES ............................................................... 128




                                                                                                                                              ii
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 5 of 133 Page ID #390




 I.      Summary of Principal Conclusions

         I, Alicia Robb, am an economic consultant and have previously served as an economist

 with several government agencies: the U.S. Small Business Administration (Office of Economic

 Research in the Office of Advocacy), the Federal Reserve (Board of Governors), and the U.S.

 Census Bureau (Center for Economic Studies). A full statement of my qualifications follows the

 Executive Summary of this report, which briefly describes my conclusions. I was retained by

 counsel for Defendants, the Secretary of Agriculture, who leads the United States Department of

 Agriculture (“USDA”), and the USDA Administrator of the Farm Service Agency, to evaluate the

 anecdotal and statistical evidence of discrimination against minority farmers in USDA’s lending

 programs and provide an opinion on whether there are any lingering effects of this past

 discrimination that disadvantage individual groups of minority farmers in the present day.

         Based on my review of historical program information, numerous non-governmental and

 governmental reports, including Government Accountability Office (“GAO”) and Office of

 Inspector General (“OIG”) reports and audits, census data, loan data, and various other documents

 described in Appendix B, I have reached the following conclusions:

      1) These materials and data provide substantial evidence of past discrimination against

         minority farmers in USDA loan programs.

      2) These materials and data reveal large and adverse disparities between minority and non-

         minority farmers today.

      3) These disparities cannot be explained solely by differences between minority and non-

         minority farmers or other factors untainted by discrimination.

      4) Instead, these disparities are consistent with what one would expect given both the well-

         established historical discrimination in USDA’s loan programs and the nature of credit

         markets and the agricultural sector.

                                                 1
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 6 of 133 Page ID #391




 II.    Executive Summary

        This case involves the claim that white farmers are being discriminated against because the

 debt relief provided in Section 1005 of the American Rescue Plan Act (“ARPA”) is being

 provided to farmers of certain races and ethnicities (“minority farmers”). I understand that the

 Government contends that debt relief to minority farmers is necessary to remedy the lingering

 effects of prior discrimination against minority farmers in USDA lending programs and to

 ensure that the allocation of government funding does not serve to perpetuate the effects of that

 discrimination. I have been asked to review the evidence of discrimination against minority

 farmers in USDA’s lending programs, evaluate the data related to the status of minority

 farmers today, and opine on whether the data are consistent with the expected effects of the

 documented history of discrimination against minority farmers in USDA’s lending programs.

 Based on my review and analysis, I have concluded that they are.

        USDA has historically discriminated against minority farmers and ranchers in USDA farm

 loan programs, as amply demonstrated by evidence in numerous reports issued by the U.S.

 Commission on Civil Rights, the GAO, and the USDA OIG; reports funded by USDA itself; in

 Congressional testimony; and in numerous lawsuits that have resulted in payments to thousands

 of minority farmers totaling billions of dollars.

         This discrimination manifested in many ways throughout the loan cycle, including

 disparate treatment in: 1) outreach and education about existing loan programs and eligibility;

 2) assistance with loan applications; 3) processing time for applications; 4) loan application

 approvals; and 5) post-disbursement loan servicing. In addition, various reports indicated that

 minority farmers were given additional requirements, such as needing a joint signature of an FSA

 representative for withdrawing funds for expenses, which were not typically imposed on white


                                                                                                 2
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 7 of 133 Page ID #392




 farmers. The evidence tells a clear story: For decades, USDA discriminated against minority

 farmers in numerous ways in administering its loan programs.

        That discrimination has been to the obvious and continuing detriment of minority farmers.

 The principal purpose of USDA’s lending programs is to provide credit to farmers otherwise

 excluded from private credit markets so that those farmers can invest in, grow, and improve their

 farms—up to the point where they can then “graduate” from USDA programs and obtain credit in

 private markets. A major consequence of discrimination in USDA lending programs was that

 minority farmers who were already struggling were denied the very help they needed, while white

 farmers were given that help. Thus, minority farmers were unable to expand their farms or invest

 in them to grow their farm businesses, or were pushed out of farming entirely.

        The results we see today are entirely consistent with this history of discrimination—which

 deprived generations of minority farmers of needed credit, payments, and technical assistance to

 run and expand their farms—and with the nature of an industry reliant on ready and frequent

 credit. For instance, the diminution of minority participation in farming is apparent. In 1920,

 minority farm owners made up 14.7% of all farm owners in the United States. By 2017, they made

 up just 4.3% of all farm owners, and minorities’ participation in farming lagged well below what

 would be expected based on their shares of the general population and rural population. In addition

 to their underrepresentation in farming, the data show that minority farms are on average smaller

 and bring in lower revenues. By every metric—acreage, market value of production, government

 payments, net farm income, per-acre market value, and overall wealth—minority farmers

 generally lag behind their white counterparts.

        Minority farmers may be harmed for decades after a discriminatory act. For example,

 minority farmers, with less wealth, are more vulnerable to negative shocks such as natural


                                                                                                  3
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 8 of 133 Page ID #393




 disasters, poor growing seasons, or economic downturns. This is reflected in higher rates of

 delinquency and foreclosure among minority farmers today. Many government payment programs

 are based on crop-acreage or are targeted toward crops primarily grown on large farms, so

 minorities, who disproportionately have smaller farms, receive less government support. The

 reduced collateral and income caused by denied loans continue to hinder minority farmers seeking

 private credit to the present day. Moreover, historical discrimination in USDA loan programs may

 have caused minority farmers to become “discouraged borrowers” who may be less likely to seek

 future USDA assistance precisely because of past USDA discrimination and a resultant lack of

 trust. Data provided by USDA on loan applications and application withdrawal rates show that

 minority farmers were less likely to apply for USDA loans in the first place and that their loan

 applications were more likely to be withdrawn when they did apply.

        These present-day disparities are consistent with the expected effects of the well-

 documented and systemic historical discrimination in the provision of USDA loans and technical

 assistance to minority farmers and are not solely the product of race-neutral factors untainted by

 discrimination. There are several additional reasons to attribute the present-day disadvantaged

 position of minority farmers to historical discrimination in USDA’s loan programs. For one, the

 disparities are large and across several relevant, and interrelated, metrics. Second, the documented

 discrimination occurred over a long period of time until at least 2010. Given the longevity and

 recency of the prior discriminatory conduct, together with the investment timeline for agriculture,

 it is unsurprising that there are still effects of that discrimination only a decade later. Third,

 Congress and USDA have taken substantial steps to eliminate and remediate historical

 discrimination, but even as those efforts have had some success, the disparities have persisted.

 Finally, it is well understood that historical discrimination discourages minority groups that have


                                                                                                   4
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 9 of 133 Page ID #394




 been discriminated against from seeking credit, even when they may both need it and objectively

 qualify for it. That pattern is consistent with the observed data. The data also show that these

 disparities are not largely explainable by race-neutral factors such as geography and types of

 agricultural products produced or by race-neutral characteristics of farmers, such as prior

 experience in farming or number of annual days devoted to farming, which might influence

 farming outcomes.

        In summary:

    1) The materials and data I reviewed provide substantial evidence of past discrimination
       against minority farmers in USDA loan programs;

    2) These materials and data reveal large and adverse disparities between minority and non-
       minority farmers today;

    3) These disparities cannot be explained solely by differences between minority and non-
       minority farmers or other factors untainted by discrimination;

    4) Instead, these disparities are consistent with what one would expect given both the well-
       established historical discrimination in USDA’s loan programs and the nature of credit
       markets and the agricultural sector.

        The debt relief provided by Section 1005 addresses the lingering effects of discrimination,

 including by increasing minority farmers’ available capital to permit reinvestment in their farm

 operations, by helping to ensure that minority farmers, who have higher rates of delinquency and

 foreclosure, do not lose their farms during a time of national distress, and by focusing targeted

 relief on those groups that have been disproportionately left out of previous government funding.

 While this relief may not fully remedy the effects of USDA’s past discrimination against minority

 farmers, it is an important step towards leveling the playing field for minority farmers going

 forward to help ensure that they do not continue to experience the cyclical effects of prior

 discrimination in USDA’s loan programs.



                                                                                                 5
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 10 of 133 Page ID #395




 III.   Statement of Qualifications

        I have more than 25 years of experience in economic consulting, research, and publishing

 in the fields of economics, entrepreneurship and finance. I have previously served as an economist

 with several government agencies: the U.S. Small Business Administration (Office of Economic

 Research in the Office of Advocacy), the Federal Reserve (Board of Governors), and the U.S.

 Census Bureau (Center for Economic Studies). I was previously a senior fellow with the Kauffman

 Foundation for twelve years, where I led a longitudinal study of U.S. startups that were tracked

 over the 2004-2011 period. I have worked as a consultant on a number of projects for various

 government agencies, including: the Securities and Exchange Commission, the Minority Business

 Development Agency, the Small Business Administration, and the Chicago Transit Authority, as

 well as groups such as the World Bank.

        I have a Ph.D. in economics from the University of North Carolina at Chapel Hill. My

 graduate curriculum included advanced courses in statistics and econometrics. My dissertation

 examined race, gender, and discrimination among U.S. employer businesses and used confidential

 microdata from the U.S Census Bureau. I have worked extensively with large and complex datasets

 including the Survey of Business Owners (Census), the Characteristics of Business Owners Survey

 (Census), the Longitudinal Business Database (Census), the Survey of Small Business Finances

 (Federal Reserve), and the Kauffman Firm Survey (Kauffman Foundation).

        Much of my work has focused on entrepreneurship and entrepreneurial finance, and I have

 studied the particular roles of racial and gender gaps in business financing, racial and gender

 differences in entrepreneurial outcomes, and disparity studies on government contracting. I have

 participated in a number of committees and working groups, such the National Advisory Council

 for Minority Business Enterprise, the OECD Pilot Scoreboard on SME Financing, and the G20

 Working Group on SME Financing. My CV is included as Appendix A and lists all of my
                                                                                                 6
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 11 of 133 Page ID #396




 publications and work experience. I have not provided expert testimony in court cases before this;

 however some of my previous consulting engagements have involved disparity studies in the

 context of federal and state procurement and set asides for minority-owned businesses.

 IV.    Scope of Work

        A.      Questions Considered

        I was retained by counsel for the Defendants, the Secretary of Agriculture and the FSA

 Administrator, to conduct research and analyze data regarding various USDA programs, including

 data regarding the operation of the Farm Loan Programs through the USDA’s Farm Service

 Agency (“FSA”) and its predecessor agency, the Farmers Home Administration (“FmHA”). FSA’s

 Farm Loan Programs are designed to provide credit to family farmers who would not otherwise

 qualify for commercial loans. I was asked to evaluate the evidence of discrimination against

 minority farmers from the available reports, data, congressional testimony, lawsuits, and anecdotal

 evidence around these lending programs and opine on whether there are any lingering effects from

 this past discrimination that disadvantage individual groups of minority farmers.

        B.      Compensation

        I am being compensated for my services at the rate of $300/hour, which is my standard

 rate. My rate for depositions is $400/hour. I have been supported in my work by Jonathan

 Zandberg, a post-doc researcher who I have worked with in the past. He recently received his Ph.D.

 in Finance from Boston College and is now an assistant professor at the University of

 Pennsylvania. His billing rate was $150/hour. I was also supported in my work by Robert Fairlie,

 a professor at the University of California at Santa Cruz. His billing rate was $350/hour.

        C.      Materials Relied Upon

        In conducting my research and analysis, I relied upon a wide variety of data and other

 information sources. I performed an extensive review of government publications related to FSA’s
                                                                                                  7
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 12 of 133 Page ID #397




 Farm Loan Programs and other services, including audit reports from the GAO and the USDA

 OIG. I also reviewed farm characteristics from various years of the Census of Agriculture

 conducted by the USDA and demographic characteristics of the U.S. population from various years

 of the Decennial Census conducted by the U.S. Census Bureau. Where necessary, I requested and

 obtained additional data and reports from officials from the USDA. A true and correct list of all

 materials relied upon in arriving at my conclusions is attached as Appendix B.

 V.     Overview of FSA and its Loan Programs and Services

        A.      FSA Lending Programs

        USDA has long directly issued loans and also guaranteed loans issued by commercial

 lenders. 1 Beginning in 1935, USDA provided financial support in the form of short-term loans and

 grants to shore up the struggling agricultural sector. 2 USDA’s Farm Loan Programs are

 administered today by the FSA and, before 1994, by the FmHA. These programs’ primary focus

 over the past several decades is in supporting those shut out of commercial credit markets. 3

        USDA lending programs account for just a small share of the total lending in the

 agricultural sector. USDA operates primarily as a lender of last resort, with the vast majority of its



 1
   USDA is authorized to guarantee loans for various kinds of third-party lenders, including
 commercial, non-profit, or cooperative lenders. I use the term “commercial lender” to refer
 generally to any third-party lender.
 2
   USDA, A Qualitative Study of Civil Rights Implications in Farm Loan Program Administration:
 Perceptions and Vulnerabilities at 9 (1998) (“FLP Qualitative Study”). Direct credit was available
 even earlier, through the Federal Land Banks. See Charles Dodson & Steven Koenig, Evaluating
 the relative cost effectiveness of the Farm Service Agency’s farm loan programs, USDA FSA
 Report to Congress (August 2006) (“Dodson & Koenig 2006”), at 13, available at
 https://perma.cc/HNT2-BNCV.
 3
  Dodson & Koenig 2006 at 13; see Consolidated Farm and Rural Development Act, Pub. L. No.
 87-128, 75 Stat. 294, 307 (1961) (codified as amended in scattered sections of the U.S. Code).



                                                                                                     8
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 13 of 133 Page ID #398




 loans available only to family farms that are unable to obtain credit elsewhere at reasonable rates

 and terms. As a share of total farm business debt, USDA direct loans increased from under 6% in

 1977 to a peak of 17% in 1987, concurrent with broad disruption in credit and agriculture markets,

 before declining to their current levels. 4 Guaranteed loans, which have higher borrowing limits,

 have consistently grown as a proportion of total USDA-subsidized lending since the mid-1980s. 5

 At the end of fiscal year 2019, FSA had a portfolio of $12 billion in direct loans to 87,000

 borrowers and loan guarantees of $16 billion for 39,000 borrowers. 6 FSA direct loans were about

 3% of the market for farm debt and FSA loan guarantees accounted for about another 5% of the

 market. 7

           There are two types of loans based on the entity that funds the loan—direct and

 guaranteed—and also several categories of loans based on the purpose for which the loan is made. 8

 The two primary categories of loans are “farm ownership” loans, made to allow a farmer to

 purchase or improve farm land or buildings, and “operating” loans, made for continuing

 operations, including equipment and supply purchases, on an existing farm. 9 Many borrowers take




 4
     Dodson & Koenig 2006 at 14.
 5
     Dodson & Koenig 2006 at 15 fig. III-2; id. at 17.
 6
  Cong. Rsch. Serv. (“CRS”), Agricultural Credit: Institutions and Issues, R-46768, at 1 (April 21,
 2021).
 7
     Id.
 8
  In some materials I reviewed, these loan types are broken down further by the specific features
 of the loan, which I list here for clarity even before describing them: Regular Farm Ownership
 Loans; Farm Ownership Downpayment Loans; 7-Year Term Operating Loans; Annual (1-year)
 Operating Loans; Microloan Operating Loans; Youth Operating Loans; Farm Storage Facility
 Loans; Conservation Loans; and Soil and Water Loans.
 9
     Dodson & Koenig 2006 at 18-19 & fig. III.-6; see generally id. App. B.



                                                                                                  9
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 14 of 133 Page ID #399




 out multiple loans over the course of time. For example, a farmer might take out an ownership loan

 to purchase land, later take out one or more operating loans to buy equipment or supplies, and then

 take out an additional ownership loan to expand the farm. Additional loan categories include

 emergency loans for covering losses incurred during natural disasters, conservation loans, and

 farm storage facility loans. 10

                 1.      Loan application process

          Both direct and guaranteed loans are reserved for farmers who cannot otherwise obtain

 credit in commercial markets on reasonable terms, and thus serve as “a safety net to family farmers

 and ranchers who otherwise would be unable to contribute to the farm sector.” 11 These two

 different loan types are processed and administered differently. For guaranteed loans, USDA

 guarantees up to 95% of a commercial lender’s losses in the event of default, but the loan is issued

 and serviced by the commercial lender. 12 The commercial lender processes the loan application,

 and USDA itself has no direct transactional relationship with the borrower but instead works with

 the commercial lender to process the loan guarantee.


 10
    See USCCR, Ten-Year Check-Up: Have Federal Agencies Responded to Civil Rights
 Recommendations, vol. III (June 12, 2003) (“USCCR 2003”) at 35, https://perma.cc/MV89-
 VBMS. Some loans, which represent a very small share of total USDA loan programs, are
 available to farmers, without the same eligibility restrictions generally imposed for operating and
 ownership loans. This includes emergency loans, conservation loans, and farm storage facility
 loans. See CONACT § 304 (conservation loans); 7 C.F.R. pt. 1436 (farm storage facility loans)
 Emergency loans have their own distinct limitations. See 7 U.S.C. § 1961. Farm storage facility
 loans are a program of the Commodity Credit Corporation, not Farm Loan Programs, but the
 program is also administered by the FSA.
 11
    USCCR 2003at 35; see also, e.g., Dodson & Koenig 2006 at 20; USCCR, The Decline of Black
 Farming in America, at 85 (1982) (“1982 Rep.”) at 76, https://perma.cc/HNT2-BNCV (“lender of
 last resort”). Recall too that farm storage facility loans and soil and land/conservation loans are
 not so limited.
 12
      Dodson & Koenig 2006 at 20.



                                                                                                  10
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 15 of 133 Page ID #400




           Direct loans are generally available only to those who could not qualify even for a

 guaranteed loan. Direct loans are issued and serviced by USDA, and USDA bears the entire risk

 of default. 13 Unlike with guaranteed loans, for direct loans, the borrower must file the application

 directly with USDA. 14 USDA first determines whether the applicant is eligible for the loan;

 second, USDA decides whether to approve the loan. 15 Both loan eligibility and loan approval

 decisions are highly decentralized; the key decisions are made at one of hundreds of county-level

 offices. 16 Although there have been numerous changes in county office structure and in loan

 processing over the decades of USDA Farm Loan Programs, it has consistently been the case that

 “decisions regarding direct loans are made primarily by local staff.” 17

           Eligibility criteria are set by statute and regulation, which have varied over the years.18

 Generally, to be eligible for either a direct or guaranteed loan, the applicant must (1) be a citizen

 or qualified noncitizen 19; (2) have “training or farming experience” that is “sufficient to assure

 reasonable prospects of success”; (3) operate a “family farm”; and (4) be “unable to obtain


 13
      See id. at 19.
 14
      Id. at 19-20.
 15
      FLP Qualitative Study at 17.
 16
   1982 Rep. at 71 (identifying, in 1982, “1,800 county offices located in 50 states”); Dodson &
 Koenig 2006 at 19 (identifying, in 2005, “2,351 county FSA offices” but observing that “less than
 half” of those offices had a farm credit specialist who could “provide full farm lending and
 servicing functions”).
 17
   Dodson & Koenig 2006 at 19; see also 1982 Rep. at 71-72 (“it is at the county level that most
 individual loans are approved or disapproved”). The most significant change occurred in 1995,
 when Congress shifted most responsibilities related to administering FSA Farm Loan Programs,
 including eligibility and approval determinations, from elected county committees to USDA
 employees in the local USDA county offices.
 18
      See 7 U.S.C. § 1922(a)(1) (ownership loans); id. § 1941(a)(1) (operating loans).
 19
      See, e.g., 7 U.S.C. § 1996.



                                                                                                   11
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 16 of 133 Page ID #401




 sufficient credit elsewhere.” 20 Although these terms have been developed in regulatory language

 and internal guidance, they still leave substantial discretion to the local county-level official

 assessing the loan. 21

           Once deemed eligible, the decision whether to approve the loan again requires judgments

 from the relevant county-level officials. 22 An applicant will be approved for a loan only if the

 “farm operating plan reflects a feasible plan.” 23 Whether a business plan is feasible is determined

 by the local officials, who assess the proposed plan in light of local conditions and their own

 experience and judgment; these officials are also available to provide guidance to the applicant

 and to assist them in improving their plan to obtain the loan. 24 In addition, county-level officials

 are involved in decisions whether the applicant has adequate security for the requested loan. 25

                  2.      Loan servicing options

           When a borrower under an FSA loan program is delinquent or distressed, he or she may, if

 eligible, receive relief in any of many forms from FSA (or, in the case of a guaranteed loan, from



 20
    I draw the quoted terms from the current statutory language for farm ownership and farm
 operating loans. I understand these core terms have been modified slightly over the years without
 meaningful change. Compare, e.g. CONACT § 302 (farm ownership loans). In addition to minor
 changes in language, Congress also added restrictions related to an applicant’s earlier loan history,
 including prior USDA loans. See, e.g., 7 U.S.C. § 1925 (total indebtedness cap); see also 7 C.F.R.
 § 764.101 (listing additional eligibility requirements).
 21
   See, e.g., Report of William T. Bielby, Keepseagle v. Vilsack, 1:99-cv-3119-EGS, ECF No. 551-
 51 (Feb 20, 2009) (“Bielby 2009”) ¶¶ 14-17; see also FLP Qualitative Study at 21-22.
 22
    Statutory and regulatory deadlines for action, coupled with onerous paperwork requirements,
 created another obstacle for applicants to overcome. See FLP Qualitative Study at 18.
 23
      7 C.F.R. § 764.401(a)(1)(i); see also id. § 762.125(a)(2) (requirements for guaranteed loans).
 24
      See Bielby 2009 ¶¶ 18-19.
 25
   See Report of Lynn A. Hayes, Keepseagle v. Vilsack, 1:99-cv-3119-EGS, ECF No. 551-25 (Feb
 20, 2009) (“Hayes 2009”) at 18-24.



                                                                                                    12
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 17 of 133 Page ID #402




 the commercial lender working with FSA). This relief is referred to generally as “loan servicing.”

 Loan servicing options have changed significantly over the years, 26 and are now codified in statute

 or regulation. 27 At all times, however, the county-level officials have remained the primary

 officials responsible for determining eligibility for loan servicing. 28

          The goal of loan servicing is to preserve the lender’s investment to the maximum extent

 possible. 29 In many cases, this can mean restructuring loan payments to preserve the farm as a

 going concern; in other cases, where the proposed plan even with restructuring is deemed not

 feasible, foreclosure is an option. 30 The options for loan servicing are many, and the selection can

 have wide ranging consequences. 31 For example:

          -   Rescheduling: for operating loans, lengthening the period of repayment, at the lower of
              current or original interest rates. Restrictions on this option varied with the specific loan
              type and changed over the past few decades.
          -   Re-amortization: for ownership loans, lengthening the period of repayment, at the lower
              of current or original interest rates. As with rescheduling, restrictions on this option
              varied with loan type and changed over the past few decades.
          -   Consolidation: the combination of multiple of related loan types, often used together
              with another servicing option.
          -   Limited Resource Program: a special reduced interest rate available to low-income
              farmers; could be used together with other loan servicing options to obtain an even lower
              interest rate.



 26
      See generally FLP Qualitative Study at 10 (describing some changes).
 27
    See, e.g., 7 C.F.R. §§ 766.105 et seq.; id. § 762.143 (servicing distressed guaranteed loan
 accounts); see FLP Qualitative Study at 22 (noting comparatively recent limits on loan servicing
 discretion). Congress provided certain procedural rights, including requiring FSA to provide notice
 of all servicing options, in response to litigation in the 1980s.
 28
   Bielby 2009 ¶¶ 20-21; see FSA Qualitative Study at 18 (explaining that servicing decisions in
 particular were ripe for subjective judgments)
 29
   See 7 C.F.R. § 766.105(a) (USDA will “consider loan servicing options and combinations of
 options to maximize loan repayment and minimize losses”); see also, e.g., 7 U.S.C. § 2001(a).
 30
      See id.; see also Bielby 2009 ¶ 11.
 31
      For a more detailed description of these servicing options, see Hayes 2009.
                                                                                                        13
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 18 of 133 Page ID #403




          -   Deferral: a delay in making a payment, with the loan’s term potentially correspondingly
              extended. The number of deferrals a borrower could use changed over time.
          -   Debt Write-Down: reduction in principal and interests amounts. To qualify for this form
              of debt servicing—in addition to the ordinary requirements to obtain debt servicing—
              the borrower had to demonstrate a feasible business plan if the servicing options were
              applied. In addition, this option was only available if the net projected recovery
              exceeded the proceeds of foreclosure and liquidation.
          -   Foreclosure and liquidation: the lender forces a sale of the collateral for the creditors’
              benefit.

          To qualify for any form of debt servicing, the borrower had to show an inability to pay

 beyond the borrower’s control and that the borrower acted in good faith to make his payments. In

 assessing eligibility for servicing options, therefore, county officials were necessarily called to

 exercise subjective judgment on topics like plan feasibility and the “good faith” of the borrower. 32

 As has been well-documented, and as discussed more below, this created opportunities for both

 intentional and unintentional discrimination against minority farmers. A lack of diversity in FSA

 staff for many decades, and especially on county committees, likely exacerbated these problems. 33

 In response to indications that debt servicing options were being arbitrarily offered (or arbitrarily

 not offered), Congress specifically mandated that USDA provide information concerning available

 options and eligibility requirements to delinquent borrowers. 34




 32
      See 7 U.S.C. § 2001(b) (setting forth eligibility requirements).
 33
   See Civil Rights at the USDA - A Report by the Civil Rights Action Team (CRAT) (1997)
 (CRAT Rep.) at 18, 20, https://perma.cc/5DNF-PFJY (1997 report indicating that, of the 101
 county offices covering counties with the greatest concentration of minority farmers, fully one
 quarter had no minority employees, and scarcely a third of county committees in those counties
 had even one minority member); see also Jackson Lewis, LLC, “Civil Rights Assessment” Final
 Report (Mar. 31, 2011) (“JL Rep.”), at 107, 163, https://perma.cc/8X6Q-GZ5V.
 34
      See 7 U.S.C. § 1981d (enacted 1988).
                                                                                                     14
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 19 of 133 Page ID #404




           B.       Other Related USDA Programs

           In addition to the broader loan programs, USDA and FSA have implemented several

 related and adjacent programs to assist farmers. The most important programs, for purposes of my

 analysis, relate to government payments. USDA issues payments to farmers throughout the

 country through numerous programs. Two recent programs are especially relevant: (1) government

 payments through the Market Facilitation Program (“MFP”), and (2) government payments

 through the Coronavirus Food Assistance Program (“CFAP”). Under the MFP, USDA was

 authorized in 2018 and 2019 to distribute up to $25.1 billion to farmers who had grown specified

 crops that were affected by foreign tariffs. 35 Through CFAP, USDA provided up to $16 billion in

 direct support payments to farmers affected by market disruptions in 2020 from the coronavirus

 pandemic. 36

           I outline just a few of the other USDA programs below:

           -    Outreach programs: In 1990, Congress directed (in the “2501 program”) that the
                Secretary support outreach programs that “encourage and assist” minority farmers
                through “education and training” and through “equitable participation in all agricultural
                programs.” 37 The 2501 program authorizes grants to community organizations,
                schools, and other entities to improve participation for minority farmers (and veteran
                farmers) in USDA programs. 38

           -    Education programs: The federal government provides substantial financial support
                to agriculture-focused schools. 39



 35
   See USDA, Market Facilitation Program, https://perma.cc/947S-7JCX (last visited on Oct. 28,
 2021).
 36
      See USDA Announces [CFAP], USDA (Apr. 17, 2020), https://perma.cc/B7N9-PTRE.
 37
      7 U.S.C. § 2279(b)(2).
 38
      Id. § 2279(c).
 39
      See, e.g., id. § 322.



                                                                                                      15
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 20 of 133 Page ID #405




           -   Technical assistance: In addition to formal training at agriculturally focused schools,
               USDA operates field training programs—often referred to as “extension” programs 40—
               to bring new techniques and advice to working farmers. 41

 VI.       There Is Substantial Evidence of Historical Discrimination Within USDA’s Loan
           Programs

           Congress’s and the USDA’s recognition of certain farmers as “socially disadvantaged”

 reflects the acknowledgment that government policies have served to the advantage of white (non-

 Hispanic, non-Latino) farmers. 42 The five racial and ethnic groups included in the category of

 “socially disadvantaged farmers and ranchers” are Black/African American, Asian, Native

 Hawaiian/Pacific Islander, American Indian/Alaskan Native (at times herein, “AI/AN”), and

 Hispanic/Latino farmers and ranchers. These groups are not mutually exclusive, as Hispanics can

 be of any race, including white, and an individual may identify as multiple different races.

           I begin my analysis with a review of the numerous reports, audits, lawsuits, and other

 documents, the list of which may be found in Appendix B, 43 that provided evidence of past

 discrimination in USDA loan programs against each of the minority farmer groups. Where possible

 in my review, I highlight specific evidence and factors that have affected each socially

 disadvantaged group separately, although they have all suffered discrimination in USDA lending




 40
   See id. § 3103(8) (defining “extension” to mean “the informal education programs conducted in
 the States in cooperation with the Department of Agriculture”).
 41
      See, e.g., id. § 341.
 42
   Many materials use the term “socially disadvantaged farmers or ranchers,” which is sometimes
 abbreviated “SDFR,” and is sometimes abbreviated as “SDA farmer.” Other materials use the
 abbreviation “SDG” to refer to “socially disadvantaged groups.”
 43
   Much of this was summarized in the congressional record as part of the deliberation of Section
 1005 and the larger ARPA bill.



                                                                                                   16
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 21 of 133 Page ID #406




 programs and continue to suffer the negative effects of that discrimination today. 44 The evidence

 shows that many of these policies have advantaged white farmers and perpetuated ongoing

 disparities between white and minority farmers. 45

           This discrimination has manifested itself in many ways, including: disparate treatment in

 1) outreach and education about existing loan programs and eligibility; 2) assistance with loan

 applications; 3) processing time for applications; 4) loan application approvals; and 5) loan

 servicing. In addition, various reports indicate that minority farmers were given additional

 requirements, such as needing a joint signature of an FSA representative for withdrawing funds

 for expenses, which were not imposed on their white counterparts. But the story the evidence tells

 is clear: For decades, USDA discriminated against minority farmers in numerous ways in

 administering its loan programs, to the obvious and immediate detriment of those farmers.

 Although both USDA and Congress were aware of these ongoing problems and made major efforts

 to address them, it took many successive changes over many years to change the structure and

 culture of USDA to eliminate discriminatory practices.

           These reports also document the follow-on effects of this discrimination. The principal

 purpose of the Farm Loan Programs is to provide credit to farmers otherwise excluded from private

 credit markets so that those farmers can invest in, grow, and improve their farms—up to the point

 where they can then “graduate” from the Farm Loan Programs and obtain credit in private markets.

 Thus, a major consequence of discrimination in lending programs by FmHA and FSA was that

 minority farmers who were already struggling to stay afloat were denied the very help they needed


 44
   See CRS, Garcia v. Vilsack: A Policy and Legal Analysis of a USDA Discrimination Case at 2
 (Feb. 22, 2013), https://perma.cc/WS9F-CADR (“Allegations of unlawful discrimination against
 minority farmers in the management of USDA programs have been long-standing and well-
 documented at USDA.”).
 45
      See USCCR 2003 (explaining that the FSA’s relationship with farmers goes back to the 1930s).
                                                                                                 17
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 22 of 133 Page ID #407




 to stop struggling, while white farmers were given that help. Minority farmers were thus caught in

 a feedback loop in which their lack of assets or creditworthiness drove them to FSA, which then

 denied them the relief they needed to increase their assets or improve their creditworthiness. The

 results of this feedback loop are unmistakable in the data: in 1920, minority farm owners made up

 14.7% of all farm owners in the United States. By 1959, that number had dropped to 7.8%. By

 1987, it had dropped further to just 2.1%. 46 It is only since 1997 that there are apparently any

 meaningful increases in the number and percentage of minority farm owners, although as of 2017,

 they still made up just 4.3% of all farm owners.

                    1965 USCCR Report

           In 1965, the U.S. Commission on Civil Rights (“USCCR” or “Commission”) 47 issued a

 seminal report in which it found discrimination at USDA in program delivery and employment.

 With respect to the FmHA, it found “a different kind of service to the two races,” Black and

 white. 48 Based on “the untenable theory that Negro farmers should be served only by Negro staff,”

 USDA programs “failed to reach the Negro rural residents most in need of them because of

 inadequate numbers of Negro staff.” 49 Thus, white farmers, “[a]ided by Federal loans and technical

 advice, . . . increasingly diversified their crops and applied modern farming practices,” while Black


 46
   See infra Table 6; see also Hr’g on Mgmt. of Civil Rights at the USDA before the House
 Subcomm. on Gov’t Mgmt., Org., & Procurement, Comm. on Oversight and Gov’t Reform, 110th
 Cong. (2008), (“2008 Senate Ag. Hr’g”) at 23.
 47
    The U.S. Commission on Civil Rights is a bipartisan agency established by Congress in 1957
 to, among other things, investigate and report to Congress and the President on civil rights issues.
 See USCCR, Equal Opportunity in Farm Programs, An Appraisal of Services Rendered by
 Agencies of the USDA (1965) (“1965 Rep.”) at vii, https://perma.cc/34HP-5V9P.
 48
      Id. at 100.
 49
      Id. at 101.



                                                                                                   18
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 23 of 133 Page ID #408




 farmers were increasingly displaced. 50 Moreover, even when FmHA programs did reach Black

 farmers, the level of assistance provided to them was consistently inferior; for instance Black

 farmers would receive smaller loans and thus have fewer opportunities for capital investments.51

 At the same time, the Commission emphasized, USDA was “helping thousands of rural white

 families to achieve substantial gains in income, housing, and education,” thus increasing the gap

 between white and Black rural residents. 52 Indeed, the Commission concluded that “[t]here is

 unmistakable evidence that racial discrimination has served to accelerate the displacement and

 impoverishment of the Negro farmer.”

           There is also clear statistical evidence of lending discrimination in this report. The

 Commission requested detailed data on loans to Black and white farmers over the period of July

 1963 through May 1964 in 13 counties selected from a list of 71 counties with heavy concentration

 of Blacks in agriculture. They were able to analyze loans to Black and white farmers from the

 same economic classes as defined by net worth and their findings provide strong evidence of

 discrimination against Black farmers.

           For instance, Black farmers were more likely to be in the lower net worth classes compared

 with white farmers, as Table 1 shows.




 50
      Id. at 8-9.
 51
      Id. at 99-100.
 52
      Id. at 100.
                                                                                                  19
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 24 of 133 Page ID #409




                                               Table 1




        Yet the Commission found that, in each economic class, the average loan size for whites

 was larger than it was for Blacks. Moreover, the average loan size for poorer white farmers in

 classes III through V actually increased as net worth decreased. On the other hand, Black farmers

 were loaned lower amounts of funding as their level of net worth decreased. In fact, the disparity

 between whites and Blacks in the average size of loan increased as the borrowers got poorer, such

 that the average size of loans for whites was four times the size for Blacks in the poorest net worth

 categories. (See Figure 1 below.)




                                                                                                   20
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 25 of 133 Page ID #410




           The next figure shows the number of dollars loaned per $1,000 of net worth. For white

 borrowers, the loan-to-net-worth ratio increased from the richest net worth class to the poorest,

 with the white borrowers in the poorest class receiving loans proportionately five times as large as

 those in the richest class. For Blacks, there were only slight increases, which meant poor white

 borrowers received both absolutely and proportionately higher loans than poor Black borrowers. 53

 So, for example, white farmers in class VI, which had net worth of $3,000 or less, were able to

 borrow upwards of $6,000, while a Black farmer with $3,000 in net worth was only able to borrow

 $1,800. This is strong evidence of discriminatory lending practices toward Black farmers that not

 only contributed to the decline in Black farms over time—as farmers were unable to obtain the

 necessary capital to survive—but also hampered their efforts to buy prime land, expand their

 farms, diversify their crops, cultivate crops with higher returns, or invest in needed machinery to

 improve productivity.




 53
      Id. at 71.
                                                                                                  21
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 26 of 133 Page ID #411




                      1982 USCCR Report

            A subsequent USCCR report in 1982 also found that USDA’s lending practices were

 actively contributing to the decline in minority farm ownership. The report detailed numerous

 complaints filed against the FmHA, alleging that Black farmers “[we]re subjected to disrespect,

 embarrassment, and humiliation by FmHA officials” and a range of discriminatory actions. 54 One

 such complaint alleged that FmHA discriminated against Black farmers in their loan applications

 by:

        -    Denying them the opportunity to submit loan applications;
        -    Awarding them loans in lower amounts than requested;
        -    Failing to give them the full loan amount actually awarded;
        -    Accelerating loan repayment schedules without explanation;
        -    Applying loan payments to the wrong accounts, so as to pay off low-interest rather than
             high-interest loans; and
        -    Contacting creditors and other businesses to inform them that no loans will be made to
             these black farmers, thereby preventing them from obtaining other credit, goods, and
             services needed to continue their farm operations. 55

 The complaint further alleged “a pattern and practice of Black farmers being foreclosed, liquidated,

 or being forced to sell their property by the county supervisor....” 56 A subsequent investigation by

 USDA’s Office of Equal Opportunity confirmed that there were various equal opportunity

 violations of the type alleged above. And these types of complaints were common: at the time,

 FmHA “le[d] all USDA agencies in civil rights complaints.” 57 Notably, however, the civil rights




 54
      1982 Rep.
 55
      Id.
 56
      Id. at 85-86.
 57
      Id. at 166.



                                                                                                   22
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 27 of 133 Page ID #412




 complaints process was largely “ineffective” and “untimely,” which further contributed to

 minority farmers’ lost revenues “and ultimately their farms.” 58

            The report further documents that, despite Black farmers being disproportionately in need

 of assistance, they “received only a very small proportion, 2.5 percent, of the total dollar amount

 loaned through FmHA’s farm credit programs in 1981.” 59 In fact, the Commission reported that

 FmHA was actually manipulating data to prevent minority farmers from obtaining FmHA loans:

 FmHA had “twice … changed the data base … to determine the rate at which minorities [we]re

 receiving loans,” thereby “narrow[ing] the data base of minority farmers considered eligible for

 FmHA services.” 60

            Even loans specifically intended for minority and low income farmers were not reaching

 minority farmers. The FmHA had set aside 25% of farm ownership and operating loan program

 funds for “limited resource loans,” which were to be provided under special terms and at reduced

 interest rates to farmers who would have difficulty repaying their loans at regular interest rates. 61

 But while it would have been “expected that … black borrowers would receive limited resource

 loans at a disproportionately higher rate than white borrowers,” “[t]he majority of blacks receiving

 farm operating loans did so at regular interest rates.” 62 “In fact, in six States white borrowers were

 more likely than blacks to have received these low interest, limited resource loans.” 63 The


 58
      Id. at 173.
 59
      Id. at 133.
 60
      Id. at 96.
 61
      Id. at 125.
 62
      Id.
 63
      Id. at 134.



                                                                                                     23
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 28 of 133 Page ID #413




 provision of “low interest loans to well-established, predominantly white farmers, further

 compound[ed] the disadvantageous and noncompetitive position of black and small farmers.” 64

           The Commission emphasized that these disparities were leading to a rapid loss of Black-

 owned farmland, expressing a sense of urgency over the possibility of the “extinction of black

 farms in this country” absent “immediate measures” to counter bias and historical discrimination. 65

 There was strong evidence supporting the Commission’s concern over the loss of Black farms.

 Indeed, the Commission found that between 1970 and 1980, Black-operated farms had declined

 “57 percent—a rate of loss 2 1/2 times that for white-operated farms”—and “almost 94 percent of

 the farms operated by blacks ha[d] been lost since 1920.” 66 Based on the interviews it conducted

 and the findings and analysis it reviewed, the Commission concluded that the FmHA was

 “contribut[ing] to the problem rather than to its amelioration.” 67

                    Litigation: 1997-2013

           A series of lawsuits brought by minority farmers provides further evidence of

 discrimination in USDA’s Farm Loan Programs that has contributed to land loss over time and

 disparities in the present day. Beginning in 1997, African American, Native American and

 Hispanic farmers initiated actions, some of which were certified as class actions, alleging that

 USDA had systematically discriminated against them on the basis of race and ethnicity in the




 64
      Id. at 183.
 65
      Id. at 69.
 66
      Id. at 176.
 67
      Id. at 179.



                                                                                                  24
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 29 of 133 Page ID #414




 administration of farm loans and other benefits. 68 In general, the minority borrowers in each of

 these actions alleged that (1) USDA willfully discriminated against them on the basis of their race

 when they sought to apply for farm program loans, loan servicing, and farm program benefits; and

 (2) when they filed administrative discrimination complaints with USDA to seek redress for that

 discrimination, USDA failed to adequately respond, instead delaying review, conducting

 meaningless investigations, or failing to take any investigative action whatsoever to resolve the

 complaints. 69 Specific allegations in the various court decisions and pleadings highlight the extent

 to which discrimination pervaded FmHA’s administration of its loan programs.

            In Pigford I and Pigford II, African American farmers recounted:

            -   Being denied loans even though they complied with the application requirements,
                rendering them unable to buy supplies, and causing them to lose farmland 70;
            -   Receiving conflicting information concerning the status of loan applications, or having
                to reapply due to FmHA denying that it had received submitted applications, which
                caused delayed loan approval and receipt of funds when planting season was over and
                the loan was “virtually useless” 71;
            -   Having loans placed in “supervised” bank accounts, which required obtaining the
                signature of a county supervisor before funds could be withdrawn, even though this
                requirement was not routinely imposed on white farmers 72;



 68
   Pigford v. Glickman (“Pigford I”), Civ. No. 97-1978 (D.D.C.); Keepseagle v. Glickman, Civ.
 No. 99-03119 (D.D.C.); Garcia v. Glickman, Civ. No. 00-2445 (D.D.C.); and In re Black Farmers
 Discrimination Litigation (“Pigford II”), Misc. No. 08-mc-0511 (D.D.C.), respectively. An action
 brought by female farmers, which was later consolidated with Garcia, made similar allegations,
 but my review does not cover that lawsuit. See Love v. Glickman, Civ. No. 00-2502 (D.D.C.).
 69
   Pigford v. Glickman, 185 F.R.D. 82, 86 (D.D.C. 1999), aff’d, 206 F.3d 1212 (D.C. Cir. 2000),
 and enforcement denied sub nom. Pigford v. Schafer, 536 F. Supp. 2d 1 (D.D.C. 2008); Pigford v.
 Vilsack, No. 91-cv-1978, Monitor’s Final Report 2, ECF No. 1812.
 70
      See Pigford, 185 F.R.D. at 87.
 71
      Id.
 72
      Id.



                                                                                                    25
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 30 of 133 Page ID #415




            -   Being promised a loan after developing a farm plan with FmHA, and investing in
                equipment in reliance on that promise, only to have the loan application rejected for no
                apparent reason. 73

            In Keepseagle, Native American farmers alleged that they routinely:

            -   Were not advised of the availability of USDA loans and loan servicing options;
            -   Were not provided loan applications upon request;
            -   Were not provided adequate technical assistance to enable them to complete the loan
                and loan servicing application process 74;
            -   Experienced “hostility by white County Committee members,” including by committee
                members using racial slurs and other derogatory comments, when attempting to obtain
                FmHA assistance. 75

            And in Garcia, Hispanic farmers similarly complained of:

            -   Repeated refusals by FmHA to offer assistance;
            -   Arbitrary rejection of loan applications, even after working with FmHA to develop a
                farm plan;
            -   Delayed resolution or arbitrary denial of loan servicing requests, leading to lost profit
                or loss of farmland. 76

            Moreover, in all of the lawsuits, farmers told of a “functionally nonexistent” civil rights

 complaints process for redressing these harms, 77 in which some farmers’ complaints were simply

 thrown “in the trash,” 78 and they recounted how FmHA’s mistreatment had resulted in lost profits

 and farmland. Indeed, as the court found in the action brought by African American farmers,




 73
      Id.
 74
      Keepseagle v. Veneman, No. 1:99-cv-3119, Seventh Am. Compl. ¶ 52, ECF No. 460.
 75
      Keepseagle Class Cert. Br. at 18, ECF No. 551-1.
 76
      Garcia v. Veneman, No. 00-cv-2445, Third Am. Compl. ¶¶ 4, 18-24, ECF No. 144.
 77
    Id. ¶¶ 7, 18-24; Pigford, 185 F.R.D. at 88; Keepseagle v. Veneman, No. Civ. A.
 9903119EGS1712, 2001 WL 34676944, at *1 (D.D.C. Dec. 12, 2001).
 78
      Pigford v. Glickman, 182 F.R.D. 341, 343-44 (D.D.C. 1998).



                                                                                                      26
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 31 of 133 Page ID #416




 discrimination by FSA “deprived countless farmers of desperately needed credit and payments

 under various aid programs, with the result that many farmers suffered severe financial losses and

 even, in many cases, lost title to their land.” 79

            As a result, USDA established a two-track administrative claims process for minority

 farmers to recover relief for the discrimination alleged in the complaints. The Pigford I settlement

 agreement set the basic framework that the rest of the cases adopted in large part. Under that

 framework, claimants who supported their discrimination allegations by “substantial evidence” 80

 under “Track A” received a cash award of $50,000, debt relief for qualifying USDA farm program

 loans, and tax relief. Claimants who supported their allegations by a “preponderance of the

 evidence” 81—a higher evidentiary bar—under “Track B” received actual damages and debt relief

 on qualifying USDA farm program loans. By the end of 2012, when the claims process was closed

 in Pigford I and Pigford II, a total of 34,059 African American claimants were awarded roughly

 $2.16 billion in combined cash payments, debt relief, and tax payments to the IRS. 82 As of the

 close of the Keepseagle claims process in August 2013, a total of 3,601 claimants were awarded




 79
   In re Black Farmers Discrimination Litig. (“Pigford II”), 856 F. Supp. 2d 1, 8 (D.D.C. 2011),
 as amended (Nov. 10, 2011).
 80
    “Substantial evidence” was defined as “such relevant evidence as appears in the record before
 the Adjudicator that a reasonable person might accept as adequate to support a conclusion after
 taking into account other evidence that fairly detracts from that conclusion. Monitor’s Final Report
 27.
 81
   A “preponderance of the evidence” was defined as “such relevant evidence as is necessary to
 prove that something is more likely true than not.” Id.
 82
      Id.



                                                                                                  27
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 32 of 133 Page ID #417




 more than $227.5 million. 83 The deadline for filing Garcia claims was May 1, 2013, and more

 than 700 claimants were awarded more than $45 million.84

           Although USDA has paid approximately $2.25 billion to claimants, the settlements and

 related claims processes did not provide complete relief. It has been reported that State taxes

 eroded recoveries, and the debt relief provided under the claims processes left some farmers with

 tax burdens they could not bear. 85 It is also worth noting that debt relief was an extremely minor

 portion of each of the claims processes. For instance, in Pigford I, fewer than 450 farmers received

 debt relief out of the 22,721 claimants found eligible to participate in the claims process. 86 And in

 Pigford II, fewer than 15 farmers received debt relief out of approximately 39,536 claimants found

 eligible to participate in the claims process. 87 Likewise, a very small percentage of Native

 American and Hispanic farmers eligible to participate in their respective claims processes received

 debt relief.

           Additional investigations and reports between 1997 and 2011 documented the ongoing

 issues of discrimination in the provision of USDA loans and technical assistance during this period.

 Seminal among them were two reports commissioned by USDA—a 1997 report by the Civil

 Rights Actions Team (“CRAT”) and a 2011 report by the law firm Jackson Lewis—and a 1997

 audit performed by USDA’s OIG.


 83
      Keepseagle v. Vilsack, No. 99-cv-3119, Status Report II.A., ECF No. 646.
 84
   USDA provided an excel sheet with the payments from Garcia broken out by Hispanics and
 women.
 85
      See 167 Cong. Rec. S1264 (Mar. 5, 2021) (Stabenow).
 86
      Pigford I, Monitor’s Final Rep. at 1, 61 Table 12.
 87
   Pigford II, Status Rep. of Class Counsel Regarding Projected Timeline for Completion of Claims
 Process at 3, ECF No. 367 (July 8, 2013).



                                                                                                    28
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 33 of 133 Page ID #418




                     1997 CRAT Report

            The CRAT was a group of USDA leaders commissioned by the Secretary of Agriculture

 in response to the civil rights complaints against the Department to investigate issues related to

 discrimination at USDA and develop a report with recommended solutions. 88 The group hosted 12

 “listening sessions” in early 1997 in 11 locations across the country to hear from USDA customers,

 in particular minority farmers interacting with FSA. 89 At the listening sessions, Black, Hispanic,

 Asian American, and American Indian farmers all “told stories of years of bias, hostility, greed,

 ruthlessness, rudeness, and indifference not only by USDA employees, but also by the local county

 committees that provide access to USDA’s [FSA] programs.” 90 According to one farmer, if county

 officials “don’t like you, they won’t give you the loan” 91; as another put it, FSA would treat

 minority farmers “worse than I would treat a dog.” 92

            The CRAT reported that, while details varied, the “general outlines” of minority farmers’

 stories “remained constant.” Those stories hit on the following types of mistreatment:

            -     Delayed approval of loan applications, leading to lost profits: Minority farmers of
                  limited resources recounted trying “to apply for a farm operating loan through the FSA
                  county office well in advance of planting season,” but having the review process
                  delayed by FSA offices either claiming that no applications were available; providing
                  no assistance in completing the applications; or stretching out application revisions
                  over a period of months. The application would finally be approved after planting
                  season had already passed, which would either leave the farmer unable to plant at all




 88
      CRAT Rep. at 3.
 89
      Id.
 90
      Id.
 91
      Id. at 6.
 92
      Id. at 4.



                                                                                                     29
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 34 of 133 Page ID #419




                   or limit the farmer’s ability to procure “supplies necessary for the best yields,” thereby
                   reducing the farmer’s profit. 93
           -       Arbitrary reduction or denial of loans, leading to lost land: Many farmers also had
                   their FSA loan “arbitrarily reduced” or never come at all—“leaving the farmer without
                   enough money to repay suppliers and any mortgage or equipment debts.” Then,
                   “because of the farmer’s debt load,” additional “operating and disaster loans [might]
                   be denied,” which would make it “impossible for the farmer to earn any money from
                   the farm.” This would result in the farmer being forced to sell the land or face
                   foreclosure. In other instances, an FSA official might offer a lease and buy-back option
                   but appraise the land at an inflated price, only to auction it off for half that price later—
                   sometimes to friends or relatives of the FSA official. 94
           -       No recourse through civil rights complaints process: Farmers also complained of an
                   ineffective process for bringing civil rights complaints based on this inequitable
                   treatment. Some observed that those who brought complaints were foreclosed on more
                   quickly. Others reported that their complaints simply went unanswered. “In Tulsa, OK,
                   an advocate representing black and American Indian farmers said” that they had “filed
                   72 civil rights complaints” and not one of them had “ever been answered.” 95

           The Report also discussed studies requested by Congress and FSA that contained statistics

 showing lower participation and loan approval rates for minorities in most FSA programs.

 Although the variances in regional and state statistics showed no consistent picture, some states

 showed very wide disparities for approval rates and processing times between minorities and non-

 minorities. In Louisiana, for example, 67% of African American loans were approved, as

 compared to 83% of non-minority loans; in Alabama, 78% of African American loans were

 approved, as compared to 90% of non-minority loans. 96 And in states in the Southeast, data

 reflected consistently longer applications processing times for minorities; in some states loan




 93
      Id. at 15.
 94
      Id. at 16.
 95
      Id. at 24.
 96
      CRAT Rep. at 21.



                                                                                                             30
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 35 of 133 Page ID #420




 processing took up to three times longer for African American loan applications. 97 A number of

 states in the Northwest showed similar disparities in loan processing between non-minorities and

 American Indians. 98 The CRAT Report further noted that the Congressional reports providing

 these statistics suggested that these disparities “may be partially accounted for by the smaller

 average size of minority- and female-operated farmers, their lower average crop yields, and their

 greater likelihood not to plant program crops, as well as less sophisticated technology, insufficient

 collateral, poor cash flow, and poor credit ratings.” 99 But as representatives of minority groups

 emphasized, “previous discrimination in USDA programs has helped produce these very

 conditions now used to explain disparate treatment.” 100

             At the end of its investigation, CRAT concluded that USDA had “done more to hurt than

 to help small and minority farmers.” 101 The result was lower participation rates of minority farmers

 “in most FSA programs” 102 and the loss of significant amounts of land and potential farm

 income.” 103

                    1997 OIG Audit

             In 1997, USDA OIG conducted an audit of loan programs and published its findings in a

 report entitled Minority Participation in Farm Service Agency’s Farm Loan Programs – Phase II.



 97
      Id.
 98
      Id.
 99
      Id.
 100
       Id.
 101
       Id. at 6.
 102
       Id. at 21.
 103
       Id. at 30.



                                                                                                   31
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 36 of 133 Page ID #421




 The audit looked at, among other things, loan servicing decisions made in 11 states and 33 counties

 in the decade following the enactment of the Agricultural Credit Act of 1987. Through that Act,

 Congress mandated that FSA “restructure delinquent farm program loans to the maximum extent

 possible to avoid losses and allow borrowers to continue their operations.” 104 To that end, FSA

 was to modify “amounts, rates, and terms of delinquent loans, using any combination of primary

 loan-servicing.” 105

             And yet, OIG’s audit showed that FSA’s loan-servicing decisions made from January 1,

 1989, through March 3, 1997, disproportionately benefitted non-minority farmers. 106 This was so

 even though minority borrowers were experiencing higher rates of delinquency. A review of the

 status of 5,465 borrower accounts as of March 3, 1997, in the 33 loan service centers audited

 showed that 34% of the non-minority borrowers were delinquent while 46% of the minority

 borrowers were delinquent. 107

             OIG’s audit specifically compared the rates at which minorities and non-minorities

 received two or more loan-servicing decisions during the applicable time period. 108 Of the 5,465

 borrower accounts reviewed, 526 of them had received multiple loan-servicing decisions,

 including “loan rescheduling, loan consolidation, restructuring, and debt write-down.” 109 OIG



 104
    Minority Participation in Farm Service Agency’s Farm Loan Programs, Evaluation Report No.
 50801-3-Hq at 29.
 105
       Id.
 106
       Id.
 107
       Id. at 30.
 108
       Id. at 29-30.
 109
       Id. at 30.



                                                                                                 32
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 37 of 133 Page ID #422




 found that “[n]on-minority borrowers received 449 (85 percent) of the multiple decisions, and

 minority borrowers received 77 (15 percent) of them.” 110 That meant that “nonminorities, who had

 34 percent of their accounts in the delinquent or may require attention categories, received 85

 percent of the [Agency’s] multiple servicing decisions while minorities, with 46 percent of their

 accounts in these categories, received only 15 percent of the . . . multiple decisions.” 111

             Additionally, OIG noted a “lack of follow-up with borrowers who did not respond to

 notices concerning availability of [loan] servicing,” which affected minorities and non-minorities

 differently. FSA “generally notified” borrowers “of the availability of loan servicing programs”

 but “did not actively recontact those borrowers who either did not respond or did not actively seek

 loan-servicing.” OIG also observed that “certain minority borrowers who did not actively seek

 loan-servicing” from FSA “based their lack of response on negative experiences with FSA during

 the early stages of the implementation of [FSA’s Primary Loan Service Programs].” 112

             Minority borrowers generally suffered more adverse consequences for failing to actively

 seek loan servicing or respond to FSA notices regarding loan servicing options. For instance, in

 one state reviewed, FSA “noted that two nonminority borrowers in one county did not respond to

 notifications of availability of Primary Loan Servicing Programs (PLSP) within the 60-day

 timeframe required by” FmHA’s internal policies. But staff “did not initiate actions to accelerate

 these accounts, as required,” and instead “rescheduled the borrowers’ debts when they applied for




 110
       Id.
 111
       Id.
 112
       Id. at 31.



                                                                                                 33
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 38 of 133 Page ID #423




 new loans.” 113 At the time of OIG’s review, “each of the two accounts were on or ahead of

 schedule, and one of the two borrowers received two additional servicing decisions.” 114 Two

 minority borrowers in the same county were treated differently. Like the two non-minority

 borrowers, they likewise failed to respond to FSA’s notification regarding loan-servicing options

 within the 60-day time period required by FSA policies, but in contrast to the non-minority

 borrowers, FSA accelerated their accounts. 115

                    2011 Jackson Lewis Report

             Secretary Vilsack commissioned the firm Jackson Lewis LLP (“JL”) to assess the

 “effectiveness” of USDA agencies “in reaching America’s diverse population in a non-

 discriminatory manner.” 116 The firm conducted an 18-month investigation and analysis of USDA

 delivery processes and practices, focused on four USDA agencies, one of which was the FSA. 117

 At the conclusion of the investigation in 2011, the firm issued a 569-page “Civil Rights

 Assessment,” where it detailed the “substantiated claims of denial of equal program access and

 continuing institutional discrimination” within USDA and FSA. 118

             The firm based its findings and conclusions on the substantial anecdotal and statistical

 evidence it collected. The anecdotal evidence depicted “a system where the deck was always

 stacked, not only against access to USDA programs, but also against [customers’] ultimate



 113
       Id. at 31-32.
 114
       Id.
 115
       Id. at 32.
 116
       JL Rep. at i.
 117
       See id. at 569.
 118
       See id. at iv, viii, 62.



                                                                                                  34
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 39 of 133 Page ID #424




 success” due to their status as minorities.119 The focus groups and community-based organizations

 representing SDGs 120 and participating in the JL investigation raised many of the same complaints

 already detailed in prior reports and lawsuits—specifically:

             -   FSA employees giving minority farmers “the runaround instead of trying to be helpful,”
                 treating them “like dirt,” and blowing them “off like [they] were nothing or nobody,”
                 often to the point that the loan applicants “just gave up” 121;
             -   FSA giving conflicting information about application requirements—for instance,
                 Hispanics and Latinos complained of “jump[ing] through all the hoops and dott[ing]
                 all the I’s,” receiving assurances that “[e]verything’s good,” only to have the
                 application rejected 122;
             -   FSA delaying the application process by telling applicants that their information “was
                 incomplete” and requiring them to “come back with additional information,” only to
                 tell the applicant later that “there were no funds left” 123;
             -   FSA officials falsely asserting that a minority applicant lied on the application in order
                 to deny the loan 124;
             -   FSA delaying disbursement of funds for approved loans “until the planting season was
                 half-way finished,” thereby “prevent[ing] the farmers from taking full advantage of the
                 program’s benefits and contribut[ing] to their losses.” 125
             African American, Hispanics and Latinos, Asians, and Native Americans all complained

 of specific instances of mistreatment, explaining that:

             -   “African Americans [we]re denied loans at a higher rate than Whites,” and receive[d]
                 [loans] … in small amounts … or subject to dual signature requirements, whereas

 119
       Id. at viii.
 120
     The JL Report included women in its groups of SDGs, along with Hispanics/Latinos;
 Blacks/African Americans; Asians; American Indians/Alaskan Natives; and Native
 Hawaiians/Pacific Islanders. See id. at 66 n.33. USDA’s interpretation of SDGs, consistent with
 the statutory definition, includes only racial and ethnic groups, and the JL Report contains many
 findings specific to the aforementioned racial and ethnic groups.
 121
       Id. at 83, 112.
 122
       Id. at 84.
 123
       Id.
 124
       Id.
 125
       Id. at 81-82.



                                                                                                        35
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 40 of 133 Page ID #425




                 Whites receive[d] all their funding up front and d[id] not have their funds
                 supervised” 126;
             -   Hispanic and Latino farmers were “stereotyped as being farm workers, rather than
                 owners,” and were not provided materials in Spanish 127;
             -   Native Americans, African Americans, and Southeast Asian clients stated that they
                 were “not always treated fairly by USDA,” and did “not feel comfortable” when
                 seeking assistance from USDA. 128

             The JL firm found that these substantiated claims of ongoing “unfair treatment and denial

 of program access” to SDGs “had a broad and longstanding negative impact on the size,

 profitability, sustainability, business prospects, successes, and failures of SDG farmers and

 ranchers—including the loss of scarce or irreplaceable farm lands.” 129

                     Congressional Hearings

             In addition to the reports discussed above, Congress has held numerous hearings

 concerning discrimination in USDA programs and the ongoing effects of that discrimination. I

 reviewed many of those hearing transcripts, which provide substantial additional anecdotal

 evidence of historical discrimination, and also of the lingering effects of that discrimination. I

 highlight just a few of those anecdotes here.

             -   An African American farmer testified that county-level officials delayed processing her
                 and her husband’s ownership loan application for five years, causing direct additional
                 expenses. 130



 126
       Id.
 127
       Id. at 86.
 128
       Id. at 84, 86.
 129
       Id. at 64, viii.
 130
    Hr’g on the USDA’s Civil Rights Prog. for Farm Prog. Participants before House Sub-comm.,
 Dep’t Ops., Oversight, Nutrition, and Forestry, Comm. on Ag., 107th Cong. 23, at 81-83 (2002)
 (2002 Civil Rights Hr’g).



                                                                                                     36
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 41 of 133 Page ID #426




           -    The same farmer testified that county-level officials delayed processing a later
                operating loan, preventing her and her husband from obtaining the necessary facilities
                to care for livestock, resulting in the death of 500 pigs. 131
           -    Congress heard testimony that USDA took 25% longer to process loan applications
                from Hispanic farmers and approved them at lower rates. 132
           -    A Hispanic farmer testified that she and her family were unable to obtain relief on their
                loan payments to USDA after a series of natural disasters because, they were told, they
                “were bad farmers.” County-level officials than blocked her and her family from selling
                part of the farm to remain solvent, and then the same officials foreclosed, costing them
                their entire farm. 133
           -    A Native American farmer testified to the difficulties he faced in obtaining FSA loans
                because of an inability or refusal to resolve questions about using land as collateral. 134
           Congress heard testimony that illustrated the enduring effects of historic discrimination on

 farm credit markets and the difficulties that smaller farms have in escaping economic insecurity.

           -    Witnesses testified that export markets favored “large scale” agriculture businesses, so
                that export growths were unlikely to substantially benefit minority farmers who
                generally have much smaller farms. 135
           -    Witnesses testified that past discrimination discouraged minority farmers from seeking
                additional credit, even when they might have received it. 136
           -    Witnesses testified that litigation settlements were inadequate and would not “improve
                [minority farmer’s] chances of remaining on the land.” 137




 131
       Id. at 83.
 132
       Id. at 33-35, 46.
 133
       Id. at 78, 149-50.
 134
    See Hr’g on Management of Civil Rights at the USDA before House Sub-comm., Gov’t
 Management, Organization, and Procurement, Comm. on Oversight and Gov’t Reform, Serial No.
 110-137 at 15-16 (May 14, 2006) (2006 Oversight Hr’g).
 135
       2015 House Ag. Hr’g at 49-50.
 136
     2002 Civil Rights Hr’g at 109 (“What has happened in this whole process is that there is an
 active discouragement of minority people from making an application in the first place. . . . [M]any
 of [the Pigford claimants] are people who attempted and tried to use the programs of the Agency
 and were turned down along the way.”).
 137
       2015 House Ag. Hr’g. at 73; see also id. at 105-06.
                                                                                                        37
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 42 of 133 Page ID #427




                                              _____________

        The aforementioned lawsuits, investigations, reports, and other materials contain

 qualitative evidence, including thousands of complaints by minority farmers of various forms of

 discrimination in USDA’s loan programs, occurring as recently as 2010 when the JL Report was

 compiled. They also contain quantitative evidence showing statistical disparities in outreach and

 education about existing loan programs and eligibility; assistance with loan applications;

 processing time for applications; loan application approvals; and loan servicing.

        More recent reporting, discussed below, confirms that many of these disparities persist.

 These disparities and other lingering effects are consistent with the well-documented and systemic

 discrimination in the provision of USDA loans and technical assistance to minority farmers and

 are not solely the product of race-neutral factors untainted by discrimination.

 VII.   Minority Farmers Continue to Suffer the Effects of Past Discrimination in USDA
        Loan Programs

        A.      The Evident Failure of Prior Efforts to Remediate Historic Discrimination in
                USDA Loan Programs and Its Effects

        I am aware of numerous initiatives that Congress has enacted over the last several decades

 in recognition of USDA’s discriminatory behavior towards minority farmers and the resulting

 detrimental effects. For instance, in Section 617 of the 1987 Agricultural Credit Act, Congress

 required the USDA to establish annual target participation rates to attempt to ensure that members

 of socially disadvantaged groups receive direct and guaranteed farm loans. That Act also required

 FSA to restructure delinquent farm program loans to the maximum extent possible to avoid losses

 and allow borrowers to continue their operations—including by modifying the amounts, rates, and

 terms of delinquent loans and using any combination of primary loan-servicing, such as




                                                                                                38
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 43 of 133 Page ID #428




 consolidation, rescheduling, re-amortization, reduction of interest rates, deferrals, and debt write-

 down. 138

           In the 1990 Farm Bill, Congress established the 2501 program to improve outreach and

 education to minority farmers and ultimately their participation in USDA programs. 139 And in

 Section 741 of the 1999 Agriculture, Rural Development, Food and Drug Administration and

 related Agencies Appropriations Act, Congress suspended the application of the then two-year

 statute of limitations regarding Equal Credit Opportunity Claims. 140 This allowed claimants in

 discrimination suits against USDA, including Black farmers in Pigford v. Glickman, Civ. No. 97-

 1978 (D.D.C.), Native American farmers in Keepseagle v. Veneman, No. 1:99-cv-3119 (D.D.C.),

 and Hispanic farmers in Garcia v. Vilsack, No. 1:00-cv-2445 (D.D.C.), to cite instances of

 discrimination dating back years and even decades in order to qualify for payments under the

 respective class action settlements and administrative claims processes.

           In the 2002 Farm Bill, Congress established the Office of the Assistant Secretary for Civil

 Rights to attempt to address the well-documented civil rights issues at the USDA, including issues

 resolving civil rights complaints in a timely manner, and in the 2008 Farm Bill, Congress declared

 discrimination claims should be quickly resolved. 141 In the 2014 Farm Bill, Congress created the



 138
    These provisions were further modified by the Food, Agriculture, Conservation, and Trade Act
 of 1990, and the Federal Agriculture Improvement and Reform Act of 1996.
 139
    See S. 2830, 101st Cong., enacted at Pub. L. No. 101-624, 104 Stat. 3359 (1990); H.R. Stat.
 2854, enacted at Pub. L. No. 104-127, 110 Stat. 888 (1996).
 140
       H.R. 1906, 106th Cong., Pub. L. No. 106-78, 113 Stat. 1135 (1999).
 141
    Farm Security & Rural Investment Act of 2002, H.R. 2646, 107th Congress, enacted at Pub. L.
 No. 107-171, 116 Stat. 134; Food Conservation & Energy Act of 2008, H.R. 6124, enacted at Pub.
 L. No. 110-246, 122 Stat. 1651.



                                                                                                   39
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 44 of 133 Page ID #429




 Office of Tribal Relations under the Secretary of Agriculture to ensure that relevant programs and

 policies are efficient, easy to understand, accessible, and developed in consultation with the

 American Indian and Alaskan Native constituents they impact. 142 And in the 2018 Farm Bill,

 Congress permanently funded the 2501 program and required GAO to produce two reports

 concerning: 1) the ability of the Farm Credit System to meet the agricultural credit needs of Indian

 tribes and their members, and 2) credit service to socially disadvantaged farmers and ranchers.

 Both reports focused on how to better meet the needs of minority farmers. 143

        These efforts may have addressed some of the underlying problems of USDA

 discrimination against minority farmers and somewhat improved their situations with respect to

 certain metrics. It is apparent, however, that these and other efforts, including the payments made

 to minority farmers through the various claims processes, have not fully remedied the problematic

 effects of decades of USDA discrimination. This is evidenced by several metrics that continue to

 show that minority farmers suffer the lingering effects of past discrimination in USDA’s loan

 programs.

        B.      Existing Disparities Between Minority and Non-Minority Farmers

        As discussed more fully below, the lingering effects of past discrimination against minority

 farmers in USDA loan programs include the current (i) underrepresentation of minority groups in

 farming in the United States, (ii) smaller size and lower revenues of minority farms, and (iii) lower

 overall wealth of minority farmers. These disparities, in turn, have had cyclical effects, resulting

 in minority farmers becoming discouraged borrowers, experiencing higher rates of delinquency on



 142
    Agricultural Act of 2014, H.R. 2642, 113th Cong., enacted at Pub. L. No. 113-79, 128 Stat.
 649.
 143
    Agricultural Improvement Act of 2018, H.R. 2, 116th Cong., enacted at Pub. L. No. 115-334,
 132 Stat. 4490.
                                                                                                   40
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 45 of 133 Page ID #430




 their loans and foreclosure on their farms, and having less access to government funds and private

 lending.

         In my analysis below, I used data provided by USDA, as well as published data from the

 Census of Agriculture and the U.S. Census Bureau. The most recent Census of Agriculture was

 conducted in 2017. These data provide not only a basic benchmark to show how most minorities

 are underrepresented in farming, compared with whites, but also how the characteristics of

 minority farms contrasted with the characteristics of white farms reflect further disparities between

 the groups. 144

                   1.     Underrepresentation of minority farmers

         Because farmers turn to USDA as a “lender of last resort,” discriminatory loan practices

 can force minorities out of farming altogether. The data show that minority farmers are

 underrepresented in farming today, meaning that they are a smaller share of the farming population

 than they are of the general population, the population in rural areas, and in the states where the

 majority of minority farmers are concentrated. 145

         i.        Underrepresentation based on comparisons with the national population

         While the demographics of the U.S. population have been changing over the last several

 decades, becoming more diverse as the share of minority groups has increased over time, there has

 not been a corresponding increase in the share of minority farmers. As shown in Figure 3 below,


 144
    I use the term “Black farms” (or Hispanic farms, etc.) interchangeably with “farms with Black
 producers” (or farms with Hispanic producers, etc.).
 145
     For example, Blacks are underrepresented in farming because they constitute more than 12%
 of the general population, and 8% of the rural population, but they make up only 1.43% of farm
 producers and 1.6% of farms nationwide have Black principal producers. Additionally, the
 proportion of Black producers in the five states where they are most heavily concentrated is lower
 than their corresponding share of that state’s population.


                                                                                                   41
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 46 of 133 Page ID #431




 in 1940, the U.S. population was mainly white (90%) and Black (10%), with less than a half of

 one percent being of some other race. By 2010, whites made up less than three quarters of the

 population, while minority populations steadily increased, with Blacks making up 12.6%; Asians,

 Pacific Islanders, and Native Hawaiians making up 5%; and Hispanics making up 16.3%. For more

 details, see Table 1 in Appendix C.




           As Figure 4 below shows, the percentage of white farms in the first half of this century was

 nearly identical to their share of the overall population—approximately 89% in 1950. 146 But while

 the percentage of whites in the general population has been declining over the decades, the

 percentage of white farms has increased from 85.2% in 1920 to a high of 97.1% in 2002, before

 declining slightly over the last three censuses in 2007, 2012, and 2017, when they made up just


 146
       More details can be found in Table 2 in Appendix C.
                                                                                                    42
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 47 of 133 Page ID #432




 under 96% of all U.S. farms. Black farms, on the other hand, were 14.3% of farms in 1920, but

 less than 2% by 2017, dipping to a low of 1% of U.S. farms in the 1992 and 1995 censuses. While

 Census of Agriculture surveys did not report detailed racial and ethnic data until later years, we

 can see that minority farmers in the other categories increased their share of U.S. farms from a

 total 0.4% in 1920 to nearly 3% by 2017, but those increases lagged considerably in proportion to

 their increases in the overall U.S. population.




        A more detailed breakout by race and ethnicity is available beginning in 1978. Table 2

 shows that Black farmers’ share of farms decreased over the 1978-1997 period before beginning

 to rise; but by 2017 they still had not reached the level they were at in 1978, which was itself

 substantially lower than their levels in all of the previous decades. And while the data show that

 Hispanics’ share of farms apparently has increased the most over the 1978-2017 period, their
                                                                                                43
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 48 of 133 Page ID #433




 representation in farming still lags considerably behind their growing share of the U.S. population.

 In 2017, Hispanics made up about 17% of the population but less than 4% of farms. This is also

 shown in Figure 5 below. It should be noted, however, that beginning with the 2002 Census of

 Agriculture USDA began refining its data collection and reporting methodology in ways that may

 over-represent increases in the number of minority farms. Specifically, statistical adjustments to

 account for nonresponsive farmers, and more targeted outreach to improve counting of specific

 groups (especially minorities), led to more accurate counting of minority farmers, which may give

 the impression that there has been a greater increase in the number of minority farmers than has

 actually occurred. 147 Moreover, USDA only began producing statistics by farmer ethnicity in 1978.




 147
    Nathan Rosenberg. 2017. “Farmers Who Don’t Farm: The Curious Rise of the Zero-Sales
 Farmer.” Journal of Agriculture, Food Systems, and Community Development, October, 1–9,
 2017, https://perma.cc/AD8N-MX9M.
                                                                                                  44
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 49 of 133 Page ID #434




        One can also see that even as the share of minority farms for some groups has risen over

 time (though, again, this is likely due in part to improved counting of minority groups since 2002),

 the gap in most minority groups’ share of farms as compared to their percentage of the overall

 population is large—and growing. American Indians and Alaskan Natives are the one exception

 to this trend. But the apparent diminishing representation gap for this group is likely an artifact of

 another change in data collection methodology. The 2007 Census of Agriculture marked the first

 time the National Agricultural Statistics Service (“NASS”) attempted to collect a census report

 from individual farm operators on American Indian reservations in all states. In all censuses prior

 to 2007, each reservation was counted as a single farm and tribal government officials and/or

 Bureau of Indian Affairs officials supplied counts of individual operators. 148

  [Continued on next page]




 148
    See USDA, 2007 Census of Agriculture, https://perma.cc/GD57-RF7R at 3, Column: Every
 Voice Counts.
                                                                                                    45
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 50 of 133 Page ID #435




        Table 3A, which compares each minority group’s shares of producers 149 to share of the

 population, shows that all of the minority groups except American Indians and Alaskan Natives

 are extremely underrepresented as farmers in the United States. There are far fewer farms and

 farmers from the other minority groups than would be expected given their shares in the general

 population. For instance, while Asians made up nearly 5% of the U.S. population in 2010, they

 were only 0.6% of producers in 2017. Hispanics, which made up 16.3% of the population in 2010,




 149
     USDA distinguishes between farm “owners,” which reflects a property law status, and
 “producers,” who actually farm the land. The term “producer” may include the farm owner but
 also may include a non-owner manager or tenant. See, e.g., 2017 Agriculture Census, Appendix B
 at 19, https://perma.cc/J3ZW-TPAG (defining “producer” as “a person who is involved in making
 decisions for the farm operation. Decisions may include decisions about such things as planting,
 harvesting, livestock management, and marketing”). Farms can have multiple producers.
 Beginning in 2017, data were collected for a maximum of four producers per farm. USDA
 previously used the term “primary operator,” which was limited to one per farm.
                                                                                              46
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 51 of 133 Page ID #436




 represented just 3.3% of the producers in 2017. Blacks, who made up 12.2% of the population in

 2010, were just 1.3% of the producers in 2017.




        ii.     Underrepresentation based on comparisons with the rural population

        Because minorities tend to account for a smaller proportion of rural populations, where the

 majority of farms—and especially large farms—are located, making comparisons only to

 nationwide population may not provide a complete picture. Figure 6 150 below shows that

 minorities tend to be more concentrated in urban areas. The concentration of minority populations

 in urban areas where farming is less prevalent might arguably skew the nationwide data such that

 it exaggerates underrepresentation. However, the fact that minority populations are less rural may

 itself be in part a consequence of unequal access to agricultural wealth caused by discrimination


 150
    The chart below appears in the November 2018 ERS report, Rural America at a Glance, 2018
 Edition, https://perma.cc/C24E-QTQ8.



                                                                                                47
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 52 of 133 Page ID #437




 in the farm loan sector, which discrimination may have driven minorities from farming in rural

 areas to more urban areas where the economy is less agriculturally driven. 151 Still, focusing only

 on rural population metrics is one way to control for any effects of uneven population distribution.

 One would expect that, absent the effects of discrimination pushing minorities out of the farming

 economy, the share of minority producers in rural areas would be on par with their share of the

 population in those areas. In fact, just as when considering the general nationwide population data,

 the rural population data show that minority farmers are also underrepresented in rural population

 areas nationwide. 152

        As shown in Table 3B and Figure 6 below, in 2017, non-Hispanic whites were estimated

 to account for nearly 80% of the rural population but 90% of producers. On the other hand,

 Hispanics made up 9% of the rural population but only 3.3% of producers, and Blacks made up

 8% of the rural population but only 1.3% of producers. American Indians made up 2% of the rural




 151
    This concept is sometime referred to as “survivorship bias,” where the characteristics of a given
 sample are skewed by the absence of data from those who drop out of the sample before the
 measurement is taken. See, e.g., Paul Nightingale, & Alex Coad, Muppets and gazelles: political
 and methodological biases in entrepreneurship research, Industrial & Corporate Change, 23(1),
 113-143 (2014), https://perma.cc/C6AY-57G8; Gavin Cassar, “The financing of business start-
 ups”, Journal of Business Venturing 19.2 (2004): 261-283, https://perma.cc/FP3E-XCWK.
 152
     Rural is defined here as nonmetropolitan (nonmetro) areas by the Office of Management and
 Budget (OMB) on the basis of counties or county-equivalent units (e.g., parishes, boroughs).
 Nonmetro counties are those outside the boundaries of metropolitan (metro) areas. In 2013, OMB
 defined metro areas as broad labor-market areas that include: 1) central counties with one or more
 urbanized areas; urbanized areas (described in the next section) are densely-settled urban entities
 with 50,000 or more people and 2) outlying counties that are economically tied to the core counties
 as measured by labor-force commuting. Outlying counties are included if 25 percent of workers
 living in the county commute to the central counties, or if 25 percent of the employment in the
 county consists of workers coming out from the central counties. (See ERS, What is Rural,
 https://perma.cc/V3FT-NMM9for more details).



                                                                                                  48
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 53 of 133 Page ID #438




 population and under 2% of producers. 153 Finally, Asians and Pacific Islanders (included in the

 “Other” category) accounted for 1.1% of the rural population but only 0.7% of producers. 154




       [Continued on next page]




 153
    American Indians were the only minority group more concentrated in rural areas (2% of the
 population) than urban (only 0.5% of the population).
 154
       But relatively few Asians and Pacific Islanders were rural residents.
                                                                                                49
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 54 of 133 Page ID #439


                                              Figure 6




        iii.    Underrepresentation based on comparisons with state-level population data

        Another way to measure minority representation in farming is by using state-level data to

 compare the minority population and producer shares in the states where minority farmers are most

 heavily concentrated. One would expect that, absent discrimination and its lingering effects,

 minority farmers would be better represented in the states where they are principally located. In

 fact, the state-level data show the same pattern as the national-level data. Table 3C below compares

 each minority group’s share of farms with their share of the population in the top five states where




                                                                                                  50
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 55 of 133 Page ID #440




 each minority group’s producers nationwide are primarily located. 155 As the data illustrate, each

 minority group’s share of farms in these five states is much smaller than its share of the state

 population.

        For example, while Hispanics made up 37.6% of the population of Texas, only 11.3% of

 the farms in Texas had a Hispanic principal producer. Similarly, in California, where Hispanics

 also made up 37.6% of the population, only 13.5% of farms had a Hispanic principal producer.

 And Hispanics made up more than 46% of the population of New Mexico but less than a third of

 New Mexican farms had a Hispanic principal producer.

        The data show similar patterns across almost every minority group. American

 Indian/Alaskan Native farmers provide one exception to this pattern. In four of the five states

 where the majority of AI/AN farmers are located, they are actually overrepresented when

 compared to their share of each state’s population. 156 However, other data show that AI/AN

 farmers are still at a disadvantage as compared to non-minority farmers in several other respects.

 For instance, as will be discussed below, AI/AN farms in the majority of these same states are

 substantially smaller in size than white farms (See Table 7), and the market value of production of

 AI/AN farms nationwide is, on average, only one-quarter that of white farms (See Table 4).

        Additionally, while the share of Native Hawaiian/Pacific Islander farmers is relatively on

 par with their share of the state populations, other data discussed below show that Native

 Hawaiian/Pacific Islander farms are significantly smaller than white farms in terms of acreage in


 155
     For example, for Black farmers, I looked at Texas, Mississippi, Alabama, Louisiana, and
 Georgia. Texas has more Black farmers than any other state; Mississippi has the second-greatest
 number of Black farmers, and so on. See Table 3 in Appendix C for a breakout of farms and
 acreage by race and ethnicity for each state and Table 4 in Appendix C for the top five states for
 each race and ethnic group and the shares of farmers that are located in each.
 156
   However, this drops to three states when using rural populations as a benchmark (See Table
 3D).
                                                                                                 51
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 56 of 133 Page ID #441




 the same states. In Hawaii, white farms are more than twice as large as Native Hawaiian/Pacific

 Islander farms; in Florida, they are nearly seven times larger. (See Table 7.)

        For each state, I also looked at the proportion of the population that was white, and the

 proportion of farms that had white principal producers. The data for every state show white farmers

 dominating the farming industry—in Mississippi, for instance, whites make up less than 60% of

 the population but account for over 85% of the farms. In Hawaii, whites make up 25% of the

 population but account for 54% of the farms.

  [Continued on next page]




                                                                                                 52
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 57 of 133 Page ID #442




        If we again compare the share of farms that have producers of a given demographic with

 their corresponding shares of the rural population for the states with the vast majority of the




                                                                                             53
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 58 of 133 Page ID #443




 minority farms, we again see similar patterns of underrepresentation. 157 (Recall also that this

 analysis may overstate minority participation in agriculture because of survivorship bias—those

 who cannot overcome discrimination to succeed in farming may move away from rural areas to

 places where there are more available opportunities.) For example, as shown in Table 3D,

 Hispanics made up 31.6% of the rural population in Texas, but only 11.3% of the farms in Texas

 had a Hispanic principal producer. Blacks made up 7.8% and 38.7% of the rural populations in

 Texas and Mississippi respectively, but only 3.2% and 14% of the farms in those same states had

 a Black principal producer. Whites, on the other hand, made up 58.6% of the rural population in

 Texas, but 95.5% of the farms in Texas had a white principal producer. American Indians and

 Alaskan Natives and Asians are the only two groups whose proportion of statewide producers

 sometimes exceeded their proportion of the rural population.

  [Continued on next page]




 157
     The data for urban and rural populations by state come from the data download from the Atlas
 of Rural and Small-Town America, which do not break out Native Hawaiians and Other Pacific
 Islanders out separately. USDA-ERS, Atlas of Rural and Small-Town America,
 https://perma.cc/8S8S-ABFY.
                                                                                              54
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 59 of 133 Page ID #444




        In sum, the current reality of farming in the United States is that it is predominantly and

 disproportionately the occupation of whites. The data consistently show that minorities are

 underrepresented in farming. At both the national and state levels, minorities generally account for

 a smaller—and, in many cases, much smaller—share of farmers than they do of the population.

 And this is generally true when making comparisons based on both the general and rural

 populations.

                2.      Smaller farms and lower revenues of minority farms

        In addition to most minority groups currently being underrepresented in farming, most

 minority farms are also smaller on average, in terms of both acreage and revenue, when compared

 with white farms. This is a natural consequence of past discrimination in lending practices, which

                                                                                                  55
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 60 of 133 Page ID #445




 hindered minority farmers seeking to expand or invest in their farms. Figure 7 below shows farm

 size by race and ethnicity. The data indicate that minority farmers tend to have a larger share of

 the farms that are less than 50 acres and with income less than $10,000. Indeed, the majority of all

 minority farms are less than 50 acres; but only approximately 40% of white farms are less than 50

 acres.




                                                                                                  56
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 61 of 133 Page ID #446




        The next set of tables provides more detail. Table 4 specifies various farm characteristics,

 including acreage, value of production, industry sector, and revenues, as of 2017, by the race or

 ethnicity of the principal producers. 158 Table 5 shows the same characteristics by race or ethnicity

 of the principal producers in percentage breakdowns, 159 while Table 6 shows how farms with

 certain characteristics are distributed within racial or ethnic categories as of 2017.

  [Continued on next page]




 158
    A principal producer may be any race and also of Hispanic/Latino origin; therefore, each of the
 racial groups listed in Table 4, and all the other tables below, includes farmers who belong to that
 racial group and also are of Hispanic or Latino origin. In addition, the tables separately include a
 column specific to Hispanic/Latino origin for purposes of highlighting the data pertaining to those
 farmers in particular. To prevent double-counting of Hispanics—once in the Hispanic/Latino
 column and again in the columns pertaining to each racial group—the totals listed in the far right
 column in each table do not include the data separately listed in the “Hispanic, Latino, or Spanish
 origin” column.
 159
    Some of the totals listed in Table 5 may be greater than 100% because each farm has up to four
 principal producers. If a farm has multiple principal producers who do not all belong to the same
 racial group, that farm is counted once in each column corresponding to the racial groups to which
 the producers belong. For example, if a farm has two principal producers, one white and one Black,
 the farm is counted twice—once in the column for “white only” and once in the column for “Black
 or African American only”; but if a farm has two or more white producers, the farm is counted
 only once in the “white only” column. If a principal producer identifies with more than one race,
 the farm is counted in the last column entitled, “More than one race reported.”
                                                                                                   57
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 62 of 133 Page ID #447




        With respect to acreage, Table 5 shows that most minority groups had a much smaller

 share of farm acreage than they had of farms nationwide in 2017.

    -   Whites had 95.8% of the farms and 93.7% of the acreage;

    -   Hispanics had 3.8% of farms but only 2.9% of the acreage;

    -   Asians had 0.7% of the farms but only 0.2% of the acreage;

    -   Blacks had 1.6% of the farms but only 0.4% of the acreage; and


                                                                                        58
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 63 of 133 Page ID #448




       -   Native Hawaiians and Pacific Islanders had 0.1% of the farms but only 0.05% of the
           acreage.

           American Indians and Alaskan Natives were the exception, insofar as they had 1.9% of the

 farms and 5.7% of the acreage, but those numbers are misleading. Farms with AI/AN principal

 producers make up a disproportionate share (4.3%) of the smallest farms (those under 10 acres),

 but they also make up 1.9% of the large farms (those with 500 acres or more). All of the other

 minority groups have a much smaller share of the large farms (500 acres or more) compared with

 their share of farms overall. There are several explanations for the larger relative share of farms of

 500 acres or more with AI/AN principal producers. First, data discussed further below indicate

 that some large farms concentrated in a small number of states are artificially driving up the

 average overall acreage for AI/AN farms nationwide. That table shows that in most of the states

 where the majority of AI/AN farmers are located, their farms are actually substantially smaller

 than the average size of white farms in that state. In Texas, for example, the average white farm is

 almost twice as large as the average AI/AN farm. Other data showed that even on reservations,

 AI/AN farms were smaller than farms with non-AI/AN farms on the same reservations. 160 In

 addition, American Indian farms are fairly concentrated in cattle ranching, 161 and thus a much

 larger percentage of the acreage of American Indian and Alaskan Native farms, as compared to

 farms held by other racial or ethnic groups, is dedicated to pasture (78% in 2017). Whites, for



 160
       See infra Table 10.
 161
    The vast majority of the acreage of American Indian farms is located on reservations (see Tables
 4 and 8), which tend to be more rural and focused on agriculture. Terry L. Anderson & Dean
 Lueck, Land Tenure and Agricultural Productivity on Indian Reservations, The Journal of L. &
 Econs., 35(d), 427-454 (1992), https://perma.cc/777V-EBBN; USDA-NASS Montana Field Off.,
 U.S. American Indian Agriculture at a Glance, https://perma.cc/HHB3-UFJ5, at 1.



                                                                                                    59
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 64 of 133 Page ID #449




 example, had only 43% of their acreage in pastureland. 162 Notably, as discussed below, cattle

 ranching generally brings in less income than other types of agricultural production. Accordingly,

 despite their acreage, AI/AN farms are less profitable. And in fact, even on reservations, where the

 majority of farm acreage belongs to American Indian farmers, white farms account for a highly

 disproportionate share of agricultural products sold. (See Tables 4 and 10.)

  [Continued on next page]




 162
    USDA-NASS, 2017 Race/Ethnicity/Gender Profile from the 2017 Census of Agriculture
 (NASS), https://perma.cc/FPW3- VUMV.
                                                                                                  60
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 65 of 133 Page ID #450




                                                                           61
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 66 of 133 Page ID #451




        Only whites have a larger share of the large farms (500 acres or more) than they have of

 farms overall (97.2% versus 95.8% respectively). Whites are also the only group to have a smaller

 share of the smallest farms (under 10 acres) than their share of farms overall (92.1% versus 95.8%

 respectively). All of the minority groups have a greater share of the smallest farms (less than 10

 acres) than their share of farms overall.

        Table 6 shows the distribution of farms by certain characteristics within each race or

 ethnicity. For example, it indicates that 26.2% of farms that had one or more Hispanic producer

 were between 1 and 9 acres. This data, too, shows that minorities have a comparatively larger share

 of smaller farms and whites have a comparatively larger share of bigger farms. Only 12.9% of

 white farms were under 10 acres, in contrast with nearly 39% of Native Hawaiian/Pacific Islander

 farms, more than 33% of Asian farms, nearly 30% of AI/AN farms, and more than 26% of Hispanic

 farms. More than 15% of white farms were 500 acres or more, compared with just 8.9% of

 Hispanic farms, 14.5% of AI/AN farms, 4.4% of Asian farms, 3.6% of Black farms, and 5.8% of

 Native Hawaiian/Pacific Islander farms.

  [Continued on next page]




                                                                                                 62
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 67 of 133 Page ID #452




                                                                           63
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 68 of 133 Page ID #453




           State-level data are consistent with the nationwide averages. Even in states with the highest

 percentage of minority farmers, minority farms tend to be smaller—and in some cases significantly

 smaller—on average than white farms. For instance, as Table 7 below illustrates, white farms are

 between 129% and 336% larger than Asian farms in the top five states where Asian principal

 producers are most heavily concentrated; and they are between 103% and 347% larger than Black

 farms in the five states where Black principal producers are most heavily concentrated. The only

 exceptions to this rule are American Indian/Alaskan Native farms in Arizona and Montana and

 Native Hawaiian/Pacific Islander farms in California. But even with these minor exceptions, the

 data continue to show that farmers in these racial groups are at a disadvantage relative to their non-

 minority peers. As to Native Hawaiians and Pacific Islander farmers, while their farms are slightly

 larger than white farms in California, in every other state where they are most heavily concentrated

 their farms are significantly smaller—they are less than one sixth the size of white farms in both

 Florida and Oregon. 163

           And, as discussed below, AI/AN farms are generally less lucrative than non-minority farms

 notwithstanding their average larger size 164—indeed, the net cash income of AI/AN farms is the

 lowest of any group other than Blacks. Moreover, a 2019 GAO study concluded that while only a

 quarter of farms on 76 Indian reservations were operated by non-AI/AN farmers, those farms

 comprised nearly 40% of the total acreage and 90% of the revenues. 165




 163
    Moreover, given the very small number of Native Hawaiian or Pacific Islander farms—there
 are only 314 farms with Native Hawaiian or Pacific Islander producers in California—state
 averages can be easily skewed by even one or two outliers.
 164
     Recall, though, that state-level data suggest that large farms in a small number of states are
 driving up the overall averages. (See Table 7 below and Table 5 in Appendix C.)
 165
       See infra at pp. 70-71.
                                                                                                     64
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 69 of 133 Page ID #454




                                                                           65
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 70 of 133 Page ID #455




        The data above likewise show that minority farmers tend to generate less income as

 compared to white farmers. In terms of the market value of agricultural products sold, white

 farms produced the vast majority, or 97.7%, of the market value of agriculture products sold (See

 Table 5). The share of market value of production by all of the minority groups except Asians was

 less than their corresponding share of farms. AI/AN farms produced only 0.5% of the market value

 of agricultural products sold, despite being 1.9% of farms. (See id.) And Blacks produced only

 0.2% of the market value of agricultural products sold despite being 1.6% of farms. (See id.)

        In terms of government payments, while white farms made up 95.8% of farms and

 generated 97.7% of the market value of agriculture products sold, they received 98.6% of

 government payments. (See Table 5.) By contrast, all of the minority groups of farmers received

 government payments that were well below their share of farms. Hispanics received 1.4%,

 American Indians/Alaskan Natives received 0.6%, Asians received 0.2%, Blacks received 0.6%,

 and Native Hawaiian and Pacific Islanders received less than 0.05%.

        In terms of farms by economic class, 166 about 58% of American Indian farms, nearly 48%

 of Hispanic farms, 44% of Black farms, and 38% of Native Hawaiian and Pacific Islander farms

 generated less than $2,500 in revenue, compared with less than one-third of white farms. (See

 Table 6.) Indeed, Asians were the only minority group that generated higher revenues than white

 farmers, with about 43% of Asian farms generating more than $25,000. Thus, in terms of revenue,

 white farmers had greater per-farm revenues than all of the minority groups except Asians.

        While American Indians/Alaskan Natives had the highest average farm size by acreage—

 at 1,374 acres, compared with 431 acres for whites—they averaged only $52,553 in market value



 166
    The Agricultural Census defines “economic class” data as “the classification of farms by the
 sum of market value of agricultural products sold and Federal farm program payments.” See 2017
 Ag. Census appendix B, B-7.
                                                                                                 66
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 71 of 133 Page ID #456




 of the agricultural products they sold, compared with $194,010 for white farmers. (See Table 4.)

 As mentioned above, a high proportion of American Indian farms are concentrated in cattle

 ranching, which is less profitable than other kinds of animal husbandry and crop farming. 167 The

 average income per acre for American Indian and Alaskan Native Farms was $41, compared to

 more than ten times that for white farmers ($450). (See ibid.) Tenure systems dating back to the

 Dawes Act of 1887 and the Indian Reorganization Act of 1934 have tended to increase the costs

 of land use for modern agriculture, making it difficult to move Indian land to higher valued

 alternative uses. 168

             One USDA study showed how having a large farm (as measured by acreage) does not

 guarantee having high sales. In that study, USDA found that less than half of farms with at least

 2,000 acres of farmland also generated sales of at least $1 million, and many actually had sales of

 less than $10,000. 169 USDA noted that farmland in arid areas, with little vegetation and poor soil,

 is not suitable for cropping and will thus often be used for livestock grazing, which generates low

 sales per acre of land. 170 In contrast, USDA found that the acreage of harvested cropland is more

 closely tied to sales: nearly 80% of farms that harvested 2,000 acres of cropland also realized at

 least $1 million in Gross Cash Flow Income. 171 Given the high number of AI/AN farms devoted

 to cattle ranching, this suggests that their comparatively large acreage is concentrated in less




 167
    See Table 6 in Appendix C for average income per farm by kind of farming, which shows
 substantially lower average revenues for cattle ranching, as compared with crops, dairy, and
 poultry operations.
 168
       See Anderson & Lueck (1992).
 169
    James MacDonald, Robert Hoppe, & Doris Newton, USDA, Three Decades of Consolidation
 in U.S. Agriculture, EIB-189 (March 2018), at 8, https://perma.cc/XZ6R-XZVN.
 170
       Id.
 171
       Id.
                                                                                                  67
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 72 of 133 Page ID #457




 productive land or they have not had sufficient financial capital to transition to more profitable

 farming sectors.

        Net income also varied dramatically by racial group, with Black farms and American

 Indian/Alaskan Native farms having the lowest net incomes at $3,509 and $8,577, respectively.

 (See Table 8.) White farmers received 97.9% of net cash farm income, even though they made up

 96.6% of farms. Their share of the government payments (99%, or $8.85 billion, of the $8.94

 billion) was higher than their shares of revenues, expenses, or net income.

        Although farms with Asian producers have the highest net income, at $111,319, a closer

 look at the data shows that relatively small number of Asian farms drive up the overall average

 and thus skew the data. The majority of farms with Asian principal producers (57%) had revenues

 of less than $25,000 (See Table 6). The NASS report on race, ethnicity, and gender noted that there

 were 4,437 Asian farms generating $100,000 or more. Because there are so few Asian farms—

 only about 18,000 total, which is less than 1% of all farms—the few thousand of them that generate

 $100,000 or more in revenue drive up the overall average of this group.


  [Continued on next page]




                                                                                                 68
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 73 of 133 Page ID #458




        Some small farms, especially those under 10 acres or with less than $10,000 in revenue,

 may be better viewed as “hobby” farms—that is, farms that are operated not primarily as a business

 but at least in large part for recreational reasons. If “hobby” farms are unequally distributed among

 race and ethnicity groups, they might skew the data one way or another. But excluding these farms

 from the analysis only underscores white farmers’ disproportionate dominance of the agricultural

 sector. Excluding farms under 10 acres, white principal farms make up 96.3% of farms, while

 Hispanic farms make up 3.2% of farms. American Indian/Alaskan Native farms and Black farms

 each make up just 1.5% of farms. Native Hawaiian/other Pacific Islander farms make up less than

 0.1% of farms. (See Table 9). The pattern is similar when considering only farms with more than

 $10,000 in revenue. Farms with white principal producers made up 97.2% of farms with more than

 $10,000 in revenue. (See ibid.)



                                                                                                   69
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 74 of 133 Page ID #459




             To summarize the findings above, the nationwide data shows that, on average, farms held

 by minorities tend to be smaller, have lower revenues, and have lower net incomes than non-

 minority farms.

             The GAO, also drawing on the 2017 Census of Agriculture, reached similar conclusions in

 its 2019 report on credit and outreach to SDFRs. 172 Looking at the aggregate, the GAO reported

 that “[o]n average, farms for which an SDFR was the primary producer (SDFR farms) were smaller

 and brought in less revenue than non-SDFR farms in 2017.” 173 Although SDFR farms represented

 30% of all farms, they operated only 21% of all farm land and accounted for only 13% of the

 market value of agricultural products sold in 2017. 174 The GAO further noted that “[a]bout 55




 172
   As noted above, SDFR is short for socially disadvantaged farmer or rancher. In this GAO report,
 GAO included female farmers, in addition to minorities, within its definition of SDFR.
 173
    GAO-19-539, Agric. Lending: Info. on Credit & Outreach to [SDFRs] Is Limited (2019), at 7,
 https://perma.cc/5RD6-24VH.
 174
       Id.



                                                                                                 70
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 75 of 133 Page ID #460




 percent of SDFR farms had fewer than 50 acres, and 88 percent had less than $50,000 in total sales

 and government payments.” 175

        A 2019 GAO study that investigated the credit needs and barriers to lending on tribal lands

 found similar results with respect to Native Americans. Using data from the 2012 Census of

 Agriculture, GAO looked at 76 Indian reservations (containing 23,000 farms and ranches) by

 primary farm or ranch operator. It found that the 25% of those farms and ranches that were non-

 Indian operated made up 39% of the overall acreage and 90% of the overall market value of

 agricultural products sold. The average size of AI/AN farms on these 76 reservations was just

 under 1600 acres, whereas farms with non-AI/AN principal producers were, on average, over 3000

 acres. The 75% of farms and ranches that were Indian-operated made up only 61% of the overall

 acreage and generated just 10% of the market value of agriculture products sold. (See Table 10.)176




 175
    Id. These numbers are greater than discussed elsewhere in the report because GAO’s statistics
 and analysis included female farmers within its definition of SDFR.
 176
    See GAO-19-464, Indian Issues: Agricultural Credit Needs and Barriers to Lending on Tribal
 Lands.
                                                                                                 71
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 76 of 133 Page ID #461




                  3.     Lower net worth of minority farmers

           Additionally, as one would expect given that minority farms are on average smaller and

 bring in less farm revenue and income, the data also show that minority farmers have lower net

 worth overall. The USDA’s Economic Research Service provided the two tables below, which

 show the overall farm and household characteristics of SDFRs 177 (i.e., minorities) and non-SDFRs

 (i.e., non-Hispanic whites) from the 2017-2019 Agricultural Resource Management Surveys.

 These tables illustrate that, overall, minorities have lower mean and median levels of net worth,

 acreage, value of production, farm income, farm assets, and debt-to-asset ratio (Table 11), as well

 as lower average and median household income and non-farm assets than non-SDFRs (Table 12).


  [Continued on next page]




 177
       For these two tables, the term “SDFR” did not include women.
                                                                                                 72
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 77 of 133 Page ID #462




                                                                           73
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 78 of 133 Page ID #463




                4.         The differences between minority and non-minority farmers are not
                           primarily attributable to race-neutral factors

        The above disparities are expected consequences of past discrimination in USDA farm loan

 programs, which, the evidence shows, has restricted minority farmers’ access to the credit needed

 to sustain and develop their farms. And as shown by the state-specific data above, these disparities

 are not largely explainable by other race-neutral factors such as geography or agricultural product

 sold. A possible response to all of this is that the observed disparate outcomes between minorities

 and non-minorities are attributable to race-neutral characteristics of farmers, such as prior

 experience in farming or number of annual days devoted to farming versus other pursuits, that

 might influence their success in farming. But data across these and other demographic metrics,

 included in Table 13 below, show that minority and non-minority farmer characteristics are

 actually quite similar.

        For instance, one possible explanation for the disparities we observe is that minority

 farmers might be disproportionately new entrants to the agricultural field as historic barriers to

 entry (including past USDA discrimination) are lifted, and that the more limited experience of

 these farmers leads to poorer outcomes. But the data show no clear delineation in new farmers

 between minorities in general versus white farmers. Black and AI/AN farmers are new or

 beginning farmers in roughly the same proportion as white farmers. Hispanic, Asian, and Native

 Hawaiian/Pacific Islander producers are new and beginning farmers at somewhat higher rates. But

 these comparatively high rates for new and beginning farmers are consistent with both historical

 discrimination and the present-day elimination of barriers to entry for minorities. If there is pent-

 up demand for entering the agricultural industry among minority groups that had been held back

 by historical discrimination, then we would expect a surge in new farmers from those groups when

 obstacles are removed. Moreover, even if the poorer outcomes for minorities could be explained

                                                                                                   74
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 79 of 133 Page ID #464




 in part by a comparatively larger share of new and beginning farmers, it would still likely be an

 artifact of prior discrimination that prevented these groups from entering farming at comparable

 rates to white farmers in earlier eras. And because growing any business depends on compounding

 returns over time, the delayed entry into farming will put minorities in a worse position even if

 there is no current, ongoing discrimination by USDA.

        Additionally, when we look at the share of new and beginning farmers compared with the

 share of all producers, we see that they are also quite similar. (See Table 14.) For instance, white

 farmers made up 94.8% of new and beginning farmers and 95.4% of farmers overall; Black farmers

 made up 1.4% of all new and beginning farmers and 1.3% of farmers overall; AI/AN farmers made

 up 1.7% of new and beginning farmers and 1.7% of farmers overall. While Hispanics and Asians

 are a slightly higher share of new and beginning farmers, their share is not so much higher as to

 explain significant disparities in other metrics such as farm revenues. Thus, the racial and ethnic

 differences we are seeing in terms of size, revenue, and net income are most likely not being driven

 by a disproportionately large influx of new and beginning farmers from the minority groups. In

 fact, previous research has shown that the share of farmers with less than five years of experience

 has fallen from 18% in 1978 to 13% in 2017. 178 Because the share of new and beginning farmers

 has been declining over time, their significance in driving overall averages has also been declining.

 And to the extent that differences in experience between minority groups and white farmers can

 explain differences in outcomes, any experience gap may well itself be a result of past

 discrimination.




 178
    Rafter Ferguson, Losing Ground Farmland Consolidation and Threats to New and Black
 Farmers and the Future of Farming (2021), https://perma.cc/SL2C-MTCQ.
                                                                                                   75
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 80 of 133 Page ID #465




        Another possible explanation for the observed disparities between minority and non-

 minority farmers is that minority farmers may be more likely to engage in farming as a secondary

 occupation or hobby, especially given the average smaller size of minority farms. But the data

 show otherwise. As Table 13 illustrates, American Indian and Alaskan Native, Asian, and Black

 producers were actually more likely to be engaged in farming as a primary occupation than whites.

 And Hispanic and Native Hawaiian/Pacific Islander producers were just slightly less likely to have

 farming as their primary occupation. Moreover, around 40% of farmers in any group worked 200+

 days off the farm—and Black producers were the least likely to work that many days off the farm,

 with only 34.9% of Black farms having a producer engaged in extra-farm work for 200+ days out

 of the year. Indeed, recall from above that excluding from the analysis all farms under 10 acres or

 all farms with less than $10,000 in revenue did not eliminate disparities.

  [Continued on next page]




                                                                                                 76
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 81 of 133 Page ID #466




        Other factors similarly do not provide a robust alternative explanation for the disparities

 observed. As discussed above, disparities were observed when considering only rural

 populations—every minority group had a smaller share of producers than their share of nationwide
                                                                                                77
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 82 of 133 Page ID #467




 rural population. 179 Even when confining the analysis to individual states, disparities were

 observed for most minority groups. 180 In Texas, for example, Hispanics make up nearly 40% of

 the statewide population, and over 30% of the rural population, but only 11.3% of Texas farms

 had a Hispanic principal producer. In Mississippi, Blacks make up nearly 40% of the rural

 population, but only 14% of the farms had Black principal producers. By contrast, whites make up

 less than 60% of the rural population in Texas, but over 95% of the farms in Texas have a white

 principal producer. And even within a single sector, like cattle ranching, disparities persist: The

 average revenues for most minority groups in the cattle ranching sector were lower—and

 sometimes substantially lower—than revenues for white cattle ranchers. 181

           C.      Existing Disparities are Consistent with the Expected Effects of Past
                   Discrimination in USDA Loan Programs

           The disparities between minority and non-minority farmers today cannot be explained

 solely by differences in factors untainted by discrimination. These disparities are instead consistent

 with what one would expect given historical discrimination against minority farmers in USDA’s

 loan programs and the nature of agricultural credit markets.

           One recognized technique used in disparity studies to establish the linkage between

 statistical disparities and discrimination is to compare minority participation in a given activity,

 such as farming or a lending program, to a benchmark that expresses the level of participation that

 would reasonably have been expected absent discrimination. 182 As discussed above, and shown in


 179
       See supra Section VII.B.1.ii.
 180
       See supra Section VII.B.1.iii.
 181
       See infra Section VII.C.
 182
    This is often used to defend the use of set asides in government contracting for minority
 businesses owners. For a detailed discussion, see Jon Wainwright & Collette Holt, Transportation



                                                                                                    78
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 83 of 133 Page ID #468




 Table 15 below, as of 2010, there were substantial disparities between the share of minorities in

 the general population and their corresponding shares of the 2017 farm producer population:

        -   Although Blacks comprised 12.2% of the population, they accounted for only 1.3% of
            producers;
        -   Although Hispanics comprised 16.3% of the population, they accounted for only 3.3%
            of producers;
        -   Although Asians comprised 4.7% of the population, they accounted for only 0.6% of
            producers;
        -   Although Native Hawaiian and Pacific Islanders comprised 0.2% of the population,
            they accounted only for 0.1% of producers.
        -   Non-minorities (white non-Hispanics) made up 63.7% of the population but accounted
            for 90.1% of producers.




 These disparities are especially telling when considering that the proportion of minority farms in

 all but one group (American Indian/Alaskan Natives) has been decreasing while the proportion of



 Research Board, Guidelines for Conducting a Disparity & Availability Study for the Federal DBE
 Program, Rep. 644 (2010), https://perma.cc/CFY4-AWA9.


                                                                                                79
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 84 of 133 Page ID #469




 minorities in the general population have been increasing (and, as discussed above, the increase in

 AI/AN farms is likely due, in part, to better census coverage). And, as shown above in Figure 6,

 American Indians/Alaskan Natives made up 2% of the rural population overall, so even this group

 was underrepresented in terms of their share of farms when compared to their share of the

 population in rural areas. Moreover, as discussed above, minority farms are generally smaller by

 acreage, by shares of the market value of products sold, and by net income, compared with non-

 minority farms.

        In terms of the market value of agricultural products sold, most minority groups had an

 even smaller share of market value than they had of farms in 2017. (See Table 4.) For instance,

        -   Blacks had 1.6% of the farms but only 0.2% of the market value of agricultural products
            sold; and
        -   American Indians and Alaskan Natives had 1.9% of farms and only 0.5% of the market
            value of products sold.

 In contrast, whites had 95.8% of farms and 97.7% of the market value of agricultural products

 sold. This was consistent across the different types of crops and animal products. As shown in the

 table below, 183 farms with white producers produced more than 96% of the market value of

 agriculture products sold except for two cases (fruits, tree nuts and berries (94.9%) and poultry

 and eggs (93.8%)) and had more than 95% of the farms except for three cases (vegetables, melons,

 potatoes, and sweet potatoes (92.2%); fruits, tree nuts, and berries (94.9%); and sheep, goats, wool,

 mohair, and milk (94.2%)). Farms with white producers also had the vast majority of livestock



 183
    Some of the totals listed in Table 16 may be greater than 100% because each farm has up to
 four producers. If a farm has multiple producers who do not all belong to the same racial group,
 that farm is counted once in each column corresponding to the racial groups to which the producers
 belong. For example, if a farm has two producers, one white and one Black, the farm is counted
 twice—once in the column for “white only” and once in the column for “Black or African
 American only”; but if a farm has two or more white producers, the farm is counted only once in
 the “white only” column.
                                                                                                   80
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 85 of 133 Page ID #470




 inventory. As of December 31, 2017, inventory on white farms constituted more than 95% of

 almost every type of livestock, with goats (94.5%) being the sole exception.




                                                                                       81
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 86 of 133 Page ID #471




        In terms of Net Cash Farm Income (see Table 8), whites received 97.97% of the Net Cash

 Farm Income even though they had just 95.8% of the farms. By contrast, Blacks had 1.6% of the

 farms but only 0.1% of the Net Cash Farm Income, and American Indians and Alaskan Natives

 had 1.9% of farms but only 0.6% of the Net Cash Farm Income.

        In terms of the per-acre market value of agricultural products sold, white farmers

 averaged $450 per acre. (See Table 4.) AI/AN farmers averaged the lowest by far at $41/acre. And

 Black farmers averaged the second lowest at $243/acre. These metrics are especially notable

 because the 1974 Report on the Status of Minority Farms in the United States reported similar

 numbers for AI/AN farmers but found that Black farms actually had higher income from farm and

 farm-related sources per acre than white farmers at that time.

        The value of land and buildings per acre and the value of total assets per acre are both
        typically greater for black farms. By two measures of efficiency — net farm and farm-
        related income per acre and per dollar of asset — black farms are of equal or greater
        efficiency. However, overall, as well as in each tenure class, the average size of black farms
        in acres is considerably smaller than for all farms. While black operators appear to do well
        with the resources they control, the small quantity of resources controlled places a serious
        upper limit on farm income. 184

 Less than 10 years later, the 1982 Civil Rights Report about the decline in the number of Black

 farmers noted:

        The adverse conditions which historically affected black farmers still exist to some extent
        today. Most significant is the competitive disadvantage faced by black farmers due to the
        relatively small size of their landholdings. While the average commercial black-operated
        farm in the south is 128 acres, the average white-operated farm is more than three times
        that size—428 acres...Economies of scale, research and technology, tax benefits,
        government price and income supports, and commercial lending all militate against the
        survival of black-operated small farms.



 184
   Allen R. Thompson & Michael Green, USDA, ESS Staff Report, NRED 80-4, The Status of
 Minority Farms in the United States, (“1974 Rep.”) at 49.



                                                                                                   82
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 87 of 133 Page ID #472




         Disadvantageous economies of scale prevent black farmers from reaping the benefits of
         many technological advancements. The cost of basic equipment minimally necessary to
         run a commercial farm is much greater in proportion to the number of acres of land help
         by the average black farmer than it is for white farmers. Because of their small
         landholdings, black commercial farmers invest in less machinery and earn smaller profits
         per farm than do white farm operators. 185

 Thus, after less than a decade, the profitability of Black farms had diminished substantially. And

 this disparity persists into the present day.

         Another example is comparing income across sector. Cattle farming and ranching was the

 predominant industry sector for all farmers in the U.S. for all groups except Asians, where it was

 the third most predominant industry. Although half of Black farms were in cattle ranching, their

 earnings ($14,213) were just a small fraction of the sales by white cattle ranches ($110,740). (See

 Table 17.) Similarly, American Indian/Alaskan Natives, Asians, and Native Hawaiian/Pacific

 Islander farms all had revenues that were less than half of the revenues of white farms.




         The disparities between the size of the minority population and their relative shares of the

 farming market across a number of metrics are large. These outcomes can be influenced by

 multiple factors, but one way the linkage between statistical disparities and discrimination is



 185
    1982 Rep. at. 50-51. The 1982 report also noted that federally funded research resulted in
 technology that has been geared towards large scale farming and the economies of scale were not
 inherent in nature but a result of a bias towards large scale farming in federally funded research
 and development of technology. Id. at 51-52.
                                                                                                  83
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 88 of 133 Page ID #473




 shown is through the introduction of anecdotal or qualitative evidence. If the thrust of the

 qualitative evidence is consistent with the statistical disparities observed, the case for the linkage

 is strengthened accordingly.

         As set forth above, there are vast numbers of anecdotal accounts of discrimination against

 minority farmers in USDA loan programs, including thousands of civil rights complaints filed as

 part of lawsuits by Black, Native American, and Hispanic farmers, as well as administrative

 complaints at USDA. The disparities set forth above are consistent with the types of complaints

 that have been made, and they are consistent with some of the results that we see. For instance, at

 the same time minority farms were diminishing, leading to the underrepresentation of minority

 farmers in the United States today, hundreds, if not thousands, of complaints were made, including

 allegations that:

         -   USDA did not provide the same levels of outreach to minority farmers, such that
             minority farmers were not aware of existing loan programs and eligibility;
         -   When minority farmers did apply for USDA loans, USDA officials did not provide the
             same levels of assistance to minority farmers in completing their loan applications, at
             times withholding or providing false or misleading information to them;
         -   USDA denied minority farmers’ loan applications at higher rates, arbitrarily, and
             sometimes without explanation;
         -   When minority farmers did obtain USDA loans, they were often in lower amounts, on
             less favorable terms, with additional requirements not imposed on white farmers,
             arbitrarily reduced, and so untimely as to be useless;
         -   USDA did not provide the same levels of education and technical assistance to minority
             farmers, 186 such that minority farmers did not diversify their crops, invest in
             technologies that could increase productivity, or adopt mechanization at the same rates
             as non-minority farmers;
         -   USDA did not inform minority farmers of loan servicing options or provide the same
             levels of loan servicing to minority farmers, at times even accelerating minority


 186
     For instance, reporting indicates that there was a lack of assistance for farm business planning;
 a lack of targeted training on farm business management and credit acquisition issues; and that the
 Agricultural Extension Service was funded through land-grant universities and not Historically
 Black Colleges and Universities or Tribal Colleges.
                                                                                                    84
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 89 of 133 Page ID #474




                farmers’ loan repayment schedules, with the result that minority farms were more often
                subject to foreclosure.

           Discriminatory actions like these deprived generations of minority farmers of needed

 credit, payments, and technical assistance and are entirely consistent with the results we see today,

 namely that minority farmers are disadvantaged in terms of acreage, revenue, net income, and

 other metrics vis-à-vis non-minority farmers and are a smaller (and in the case of Black farmers,

 dramatically smaller) proportion of the U.S. farming population today.

           Numerous reports over the years provide supportive evidence. As discussed above, the

 evidence compiled and reviewed by Jackson Lewis in 2011 “substantiated claims [by focus group

 participants and community based organizations] of denial of equal program access and continuing

 institutional discrimination,” 187 which it said had “a broad and longstanding negative impact on

 … SDGs—including the loss of scarce or irreplaceable farm lands.” 188 As just one example, the

 report explained that because of delays in the distribution of USDA funds, farmers often did not

 receive approved funds until after the planting season was half-finished, thus contributing to their

 losses. 189 Given their historic lack of access to USDA funds and services, minority farmers’

 corresponding lower farm incomes and wealth levels understandably hampered their ability to

 weather financial hardships, leading to the diminution of minority farms. And discriminatory

 actions, such as accelerating the payment schedules of minority farmers and failing to provide

 them with information and services about loan servicing options led to disproportionate numbers

 of minorities losing their farms to foreclosure.


 187
       JL Rep. at viii.
 188
       Id. at 64.
 189
       Id. at 81-82.



                                                                                                   85
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 90 of 133 Page ID #475




        Another way that the linkage between statistical disparities and discrimination can be

 shown is to consider the size of the observed disparities. 190 The larger the disparity, the less likely

 it is that non-discriminatory factors account for the entire difference. As discussed above, there are

 significant disparities between the acreage of minority farms and non-minority farms; between the

 market value of products sold by minority farmers and non-minority farmers; and between the net

 income of minority farmers and non-minority farmers. These large disparities, across several

 relevant metrics, strongly suggest that discrimination in agricultural lending markets, including by

 USDA, is a primary explanation.

        A further reason to attribute the disadvantaged position of minority farmers today to prior

 discrimination in USDA’s loan programs is to consider the longevity and timing of the

 discriminatory conduct. As discussed, there have been complaints of discrimination against

 minorities in USDA lending programs since the inception of those programs. As early as 1965, the

 USCCR reported wide-ranging complaints of discrimination, and in 2011, Jackson Lewis reported

 many of the same issues, concluding that discrimination in FSA lending was systematic and

 ingrained. In light of the longstanding discrimination against minority farmers in USDA loan

 programs, over at least a fifty-year period and documented as late as 2011, it is reasonable to expect

 that minority farmers would continue to suffer the lingering effects of that discrimination only



 190
    See, e.g., Justus Veenman, “Measuring labor market discrimination: An overview of methods
 and their characteristics,” American Behavioral Scientist 53.12: 1806-1823 (2010),
 https://perma.cc/36X8-E24N; George R. La Noue, “Standards for the second generation of
 Croson-inspired disparity studies.” The Urban Lawyer: 485-540 (1994), https://perma.cc/JB83-
 44VF; The Equal Opportunity Commission Uniform Guidelines (29 C.F.R. § 1607(D)) provide a
 threshold of 80% (or the four-fifths rule), which that guides Federal enforcement agencies in
 carrying out their obligations in promoting equal employment opportunity.



                                                                                                      86
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 91 of 133 Page ID #476




 about a decade later. 191 This is especially true in light of the capital-intensive nature of agriculture,

 which requires significant up-front investment in land, equipment, and supplies, with returns

 measured in decades.

         Once a disparity has been shown, one common way to rebut the implication that the

 disparity is a result of discrimination would be to show that any disparities substantially shrink in

 size, statistical significance, or both once other factors that are unlikely to be correlated with

 discrimination have been accounted for. But other factors that one might expect to negate the

 disparities above do not do so. For instance, the diminution of minority farms is not due to a

 shrinking minority population. Instead, minority farms have mostly been vanishing, not increasing,

 with consistent increases in minority populations. At the same time, the share of acreage attributed

 to minority farms has been stagnant: About 94% of farm acreage has been farmed by white farmers

 consistently over the 1978-2017 period even though the white population share has been

 decreasing over the same period. (See Table 3 in Appendix C.) Even compared to their proportion

 of the rural population or to the population of the states in which they are most heavily

 concentrated, minority producers are underrepresented (in some areas, significantly

 underrepresented). Moreover, a relative lack of experience among minority farmers cannot account

 for their diminished revenue or smaller size farms, as the proportion of new farmers in several


 191
     See, e.g., Peter A. Morrison, ‘“Lingering effects’ of discrimination: tracing persistence over
 time in local populations”, Population Research and Policy Review, 25.2 (2006): 127-139,
 https://perma.cc/5KD6-KG27; Jeremy R. Porter, “Plantation economics, violence, and social well-
 being: The lingering effects of racialized group oppression on contemporary human development
 in the American South,” Journal of Human Development and Capabilities 12.3 (2011): 339-366,
 https://perma.cc/EZ5M-HDYV; Lindsey M. Burke & Jude Schwalbach, “Housing Redlining and
 Its Lingering Effects on Education Opportunity, Backgrounder. No. 3594,” Heritage
 Foundation (2021), https://perma.cc/8FXN-XL49.



                                                                                                        87
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 92 of 133 Page ID #477




 minority groups is roughly equivalent to the proportion of new white farmers and, in any event, a

 comparative lack of experience is not an independent factor but instead one expected effect of a

 lengthy period of exclusion from farming. And time spent working off the farm does not explain

 those same disparities, as minority farmers, in many instances, spend less time off the farm than

 non-minority producers—and, as compared to whites, most minority groups have a higher

 percentage of producers engaged in farming as their primary occupation. 192

        Nor is it likely that minority underrepresentation is simply the result of minorities choosing

 not to enter or stay in the business of farming, or not to expand farming operations, for reasons

 unrelated to discrimination. Rather, there is substantial evidence that historical discrimination in

 USDA loan programs has caused minority farmers to become “discouraged borrowers” who may

 be less likely to seek future USDA assistance precisely because of past USDA discrimination and

 a resultant lack of trust. Data provided by USDA on loan applications and application withdrawal

 rates, which are discussed in greater detail below, show that minority groups had much lower than

 expected loan application rates and higher loan application withdrawal rates than did white

 farmers—in other words, minority farmers were less likely to apply for USDA loans in the first

 place and their loan applications were more likely to be withdrawn if they did apply. This provides

 evidence that minority farmers expect unfair treatment by USDA and are more likely to be

 discouraged borrowers.

        Furthermore, other factors are themselves strongly correlated with other effects of

 discrimination. For instance, many government programs tend to favor large farms, such as



 192
     See Table 13 and accompanying text above (discussing various farmer characteristics by
 race/ethnicity).



                                                                                                   88
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 93 of 133 Page ID #478




 programs for certain crops that are economically feasible only at large scale. 193 Large farms are

 disproportionately farmed by whites, who therefore receive a disproportionate share of the benefits

 of those programs. As discussed above, however, the smaller size of minority farms in terms of

 acreage and revenue is likely due in no small part to historical discrimination in USDA loan

 programs that have deprived minority farmers of necessary credit and services. 194 That, in turn,

 has impeded minority farmers’ ability to access the credit and collateral necessary to expand their

 farms, leaving them smaller and less profitable.

        Another point to consider is the effect of various countermeasures taken over the years that

 would be expected to offset the discriminatory conduct and its effects and improve the relative

 position of minority farmers. But as discussed, although Congress and USDA have made various

 efforts over the years to remedy the problem of USDA discrimination, and the situation of some

 minority farmers may have improved, the data show disparities—some of them quite significant—

 that persist today. These ongoing disparities confirm that past efforts to remedy discriminatory

 effects and improve minority farmers’ position have been inadequate. Many such efforts have

 aimed at increasing minority participation in USDA loan programs while failing to address

 borrower discouragement and lack of trust among minority farmers due to historic discrimination

 in USDA loan programs.

        Perhaps the most well-known remedial effort relates to payments to minority farmers made

 as a result of litigation based on race discrimination. As explained elsewhere, though, those


 193
     See USDA, National Commission on Small Farms, A Time to Act, at 10-11 (Jan. 1998)
 https://perma.cc/NZY6-PPFW.
 194
    It also caused farmers to lose their land (and stop farming) and prohibit potential farmers from
 buying or starting a farm in the first place.



                                                                                                 89
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 94 of 133 Page ID #479




 payments were inadequate for numerous reasons; and they provide no remedy to minority farmers

 who have encountered discrimination after the late 1990s, and who necessarily were not

 beneficiaries of those payment, 195 or to minority farmers not directly discriminated against but

 nonetheless experiencing the lingering effects of longstanding discrimination in USDA loan

 programs. In addition, one factor correlating the current adversities faced by minority farmers and

 discrimination in USDA lending is the historical lack of an effective and timely process for

 resolving the various complaints of discrimination in USDA’s loan programs; resolution often

 came too late to fully redress compound effects of earlier discrimination. In a similar manner,

 remedial efforts taken to-date have failed to address the cyclical effects of discrimination that have

 largely hampered minority farmers’ ability to accrue the capital necessary to maintain or expand

 their farming operations at the same rate as non-minority farmers.

        D.      Cyclical Effects of Past Discrimination in USDA Loan Programs

        The negative effects of past discrimination in USDA’s loan programs themselves have

 follow-on effects that make it more difficult for minority farmers to flourish today. In part because

 of USDA’s discrimination, minority farmers have lower farm incomes and wealth levels, which in

 turn leads to higher rates of default and foreclosure and less access to other government funds, as

 well as private lending. In these areas, even where there is not ongoing intentional discrimination

 against minority farmers, the negative effects of prior discrimination in USDA loan programs

 continue to inhibit them. Minority farmers, given their experiences of prior discrimination in

 USDA loan programs, may have developed distrust of USDA and continue to expect unfair

 treatment, which makes them more likely to be discouraged borrowers. Thus, in addition to the


 195
    The Pigford litigation covered Black farmers who encountered discrimination in USDA loan
 or other credit programs between 1981 and 1996; the Keepseagle litigation covered the years
 between 1981 and 1999; and the Garcia litigation covered the years between 1981 and 2000.
                                                                                                    90
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 95 of 133 Page ID #480




 more direct long-term consequences inherent to the denial of needed credit—such as the inability

 to make timely investments to grow one’s business—there are indirect effects that reverberate

 across decades. The existence of these causal mechanisms, and their documented effects, provide

 a sound basis to conclude that existing disparities are the result of historic discrimination.

                 1.      Higher rates of delinquency, default, and foreclosure among minority
                         farmers

         Because minority farms are smaller and less profitable, and minority farmers have

 corresponding less wealth and income to draw from, they are more vulnerable to adverse

 conditions, such as natural disasters, poor weather conditions, and economic downturns. They are

 less able to weather these negative shocks, which results in their having higher rates of delinquency

 on their loans and foreclosure on their farms. And due to the lack of trust and relationships with

 USDA officials as a result of longstanding USDA discrimination, they are less likely to seek and

 obtain access to loan servicing options to avoid default and foreclosure even when they are aware

 of servicing options. 196

         The USDA data shows that the minority farmers who would be eligible for debt relief under

 Section 1005 have much higher levels of loan delinquency, bankruptcy, and foreclosure than non-

 minority farmers. Table 12 below is based on USDA data and shows the minority borrowers and

 direct and guaranteed loans eligible for debt relief under Section 1005, as well as the corresponding


 196
    See, e.g., GAO-19-539 at 29. As will be discussed below, the small business financing literature
 has consistently shown that minority business owners are more likely to be discouraged borrowers
 than white business owners. Research using a number of different data sources on small business
 financing all show a greater proportion of minority business owners being discouraged borrowers
 than white business owners. That includes data from the Survey of Small Business Finances by
 the Federal Reserve Board of Governors, various years of the Small Business Credit Survey by
 various banks in the Federal Reserve System, and the Kauffman Firm Survey, which tracked firms
 over 2004-2011 period, by the Kauffman Foundation. Joseph Farhat & Alicia Robb, Applied
 Survey Data Analysis Using Stata: The Kauffman Firm Survey Data, (2014),
 https://perma.cc/9KBU-HUG7.
                                                                                                   91
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 96 of 133 Page ID #481




 breakout for non-minority borrowers in terms of the number of borrowers, loans that were current

 versus not current as of January 1, 2021, and the status of non-current loans (e.g., foreclosure,

 bankruptcy, delinquent). In terms of both borrowers and loans, the data shows that minority

 farmers have higher rates of delinquency, bankruptcy, and foreclosure.




        In terms of direct loans, Table 18 shows that 29.8% of minority borrowers were not current

 on their loans as of January 1, 2021, versus 13.8% of non-minority borrowers. This means that

 37% of all direct loans held by minority borrowers were not current, while only 18.2% of direct
                                                                                               92
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 97 of 133 Page ID #482




 loans held by non-SDA borrowers were not current. For the minorities’ direct loans that were not

 current, more than two-thirds were classified as delinquent, 18% were in foreclosure or

 bankruptcy, and another 13% were classified as “Not Collectable,” meaning that there were no

 underlying assets or collateral to collect on the loan. 197

         In terms of guaranteed loans, 10.3% of minority borrowers were not current on their loans

 as of December 31, 2020, versus 5.1% of non-minority borrowers. In terms of loans (as opposed

 to borrowers), 10.6% of all guaranteed loans held by minority borrowers were not current, while

 only 5.7% of guaranteed loans held by white borrowers were not current. Thus, minority borrowers

 and minorities’ loans were much more often not current on their direct and guaranteed loans

 covered by Section 1005 than their white counterparts.

         In fact, while minority farmers made up 18.4% of all direct loan borrowers, they made up

 nearly one-third of the borrowers who were not current on their direct loans and 35% of the direct

 loans that were not current. (See Table 13.) They also made up two-thirds of the direct loan

 borrowers who were in foreclosure. Minority farmers made up just 6.5% of the guaranteed

 borrowers, but more than 12% of the guaranteed borrowers that were delinquent on their loans and

 more than 16% of the guaranteed borrowers in liquidation or foreclosure.




 197
    For loan servicing purposes, a “delinquent borrower” is “a borrower who has failed to make all
 scheduled payments by the due date.” See 7 C.F.R. § 761.2(b) (definition of “delinquent
 borrower”). If a delinquent borrower is unable to restructure or buyout the debt under Farm Loan
 Programs’ primary loan servicing options, or fails to request loan serving, FSA is required to
 proceed with foreclosure.


                                                                                                93
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 98 of 133 Page ID #483




        In terms of loans (as opposed to borrowers), the data shows that minorities’ loans were

 much more often delinquent, in foreclosure, or in bankruptcy than non-minorities’ loans as of

 January 1, 2021. (See Table 19.) While minority farmers held 20.9% of direct loans, they held only

 16.9% of direct loans that were current, and 35% of direct loans that were not current. Minorities’

 loans made up 62.1% of the direct loans in foreclosure, more than 30% of the direct loans in

 bankruptcy, and nearly 35% of the direct loans designated as not collectible. The pattern was

 similar for guaranteed loans. Minority farmers held 6.5% of guaranteed loans, but only 6.2% of

 guaranteed loans that were current, 11.5% of guaranteed loans that were not, and 16.9% of

 guaranteed loans in liquidation or foreclosure.



                                                                                                 94
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 99 of 133 Page ID #484




        Direct loan data from a July 23, 2021, USDA Internal Report on Farm Loan Programs on

 delinquency rates also shows that minority farmers in each racial or ethnic category have higher

 delinquency rates for direct loans than white farmers. 198 Hispanic borrowers had the highest

 delinquency rate of direct loans (22%), 199 followed by Blacks (20%), American Indians and

 Alaskan Natives (10%), and then Asians (9%). White borrowers had the lowest delinquency rate.



                    Figure 8: Delinquency Rates for Direct Loans by Race/Ethnicity




 Source: USDA Internal Report on Farm Loan Programs (2021)



               2.      Less access to government payments by minority farmers

        Given that minority farmers are in an economically disadvantaged position vis-à-vis white

 farmers, one would expect to see government payments going disproportionately to minority

 farmers. Instead, we see the opposite. As was shown in Table 4, in 2017, white farmers received

 nearly all (98.6%) of government payments, while farmers in each of the minority groups

 received less in government payments than their corresponding share of farms.


 198
    This report used direct closed data from 2020 and 2021 and loan application data from 2016-
 2021.
 199
    Without Puerto Rico (“PR”) included in the average, the Hispanic delinquency rate went down
 to 16% (PR is 99% Hispanic, and the delinquency rate is 70%).


                                                                                              95
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 100 of 133 Page ID #485




         -   Hispanic farmers received 1.4% of government payments, even though they made up
             3.8% of farms;
         -   American Indian and Alaskan Native farmers received 0.6% of government payments,
             even though they made up 1.9% of farms;
         -   Asian farmers received 0.2% of government payments, even though they made up 0.7%
             of farms;
         -   Black farmers received 0.6% of government payments, even though they made up 1.6%
             of farms; and
         -   Native Hawaiian and other Pacific Islander farmers received less than 0.1% of
             government payments, even though they made up 0.1% of farms.

         The disproportionate allocation of government payments to white farmers was repeated

  recently through the Market Facilitation Program (“MFP”) 200 and the Coronavirus Food

  Assistance Program (“CFAP”). 201 A 2021 report to Congress, comparing transfers and subsidies

  to minority and non-minority producers, indicated that minority status was unknown for more than

  5% of payees 202 and 7% of payments. 203



  200
     In 2018 and 2019, the FSA was authorized to distribute up to $25.1 billion through the MFP to
  assist producers directly affected by retaliatory tariffs by China. See USDA, Market Facilitation
  Program, https://perma.cc/947S-7JCX.
  201
      CFAP was created in 2020 in the Coronavirus Aid, Relief, and Economic Security Act
  (“CARES Act”) to assist producers who faced market disruptions due to COVID-19. It consisted
  of $16 billion in direct support to producers and $3 billion to buy agricultural products and re-
  distribute them to Americans in need. See USDA Announces [CFAP], USDA (Apr. 17, 2021),
  https://perma.cc/B7N9-PTRE.
  202
     Many producers received separate payments under both phases of MFP and CFAP, so the total
  number of payees in Tables 20 and 21 below include those who received multiple payments over
  each year of the programs.
  203
     See Report to Congress: A Comparison of Transfers and Subsidies to Minority and Non-
  Minority Producers Associated with Key Farm and Conservation Programs (Aug. 5, 2021). The
  report was produced in response to a request from Congress that USDA provide to the House
  Committee on Appropriations “a report on the distribution of farm subsidies, low-interest loans,
  and cost-share conservation programs and its impact on minority-owned farms.” See id. at 2; id. at
  2; Agriculture, Rural Development, Food & Drug Administration, & Related Agencies
  Appropriations Bill, 2020, H. Rep. 116-107 (2019).



                                                                                                 96
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 101 of 133 Page ID #486




            However, two rough estimates indicate that the majority of payments went to white farmers

  even accounting for the unknowns. For the first estimate, I considered only those payment

  recipients whose minority and non-minority status was known. 204 For the second estimate, I

  allocated the unknown shares of payees and payments in the same proportions as the original

  shares. 205 Both estimates indicate that more than 95% of CFAP payees and more than 98% of MFP

  payees were white farmers and that a similar proportion of payments went to white farmers. 206

            Reporting indicates that these disparities are attributable to the fact that agricultural funding

  tends to favor large farms. 207 Thus, although likely not intentional, the disproportionate allocation

  of these funds from recent programs to non-minority farmers exacerbates the disparities discussed

  above. And given the magnitude of these programs—more than $23 billion over two years under

  the MFP, and nearly $24 billion under the CFAP—compared to the total amount of minority




  204
      In other words, I determined the total number of known minority and non-minority payees by
  subtracting the unknown payees from the total number of payees. I then divided the total number
  of known non-minority payees by the total number of known minority and non-minority payees
  (e.g., for MFP non-minority payees: 1,165,038 / (1,248,692 – 66,189); and for CFAP non-minority
  payees: 1,413,221 / (1,545,390 – 71,347)).
  205
     To the known minority and non-minority payee totals, I added the unknown payees in the same
  proportion as the known payee percentages calculated above. I then divided each of the estimated
  totals of non-minority and minority payees by the total number of payees (e.g., for MFP non-
  minority payees: 1,165,038 + (.933 x 66,189) / 1,248,692; and for CFAP non-minority payees:
  1,413,221 + (.914 x 71,347) / 1,545,390).
  206
     A third estimate, assigning the unknown shares a somewhat implausible 50/50 minority/non-
  minority status, shows similarly disproportionate payments—94% of CFAP payments and 96% of
  MFP payments—went to white farmers.
  207
        See USDA, National Commission on Small Farms, A Time to Act, at 10-11 (Jan. 1998).



                                                                                                          97
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 102 of 133 Page ID #487




  farmers’ direct and guaranteed loan balances—only about $4 billion (see Table 18)—one can

  expect the impact of these disparate payments to be significant. 208




        [Continued on next page]




  208
     Also, as Table 6 shows, each minority group except for Hispanics received a lower average
  amount of general government payments according to the 2017 Census of Agriculture. Indeed,
  despite their disproportionate need, the average amount of government payments received by
  Black farmers ($7,108) was only half of that received by white farmers ($14,004), while American
  Indian and Alaskan Native, Asian, and Native Hawaiian and other Pacific Islander farmers all had
  lower than average government payments than white farmers.


                                                                                               98
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 103 of 133 Page ID #488




                 3.     Less access to private credit by minority farmers

         The historic inability of minority farmers to obtain FSA funds and services on par with

  white farmers also inhibits them from obtaining access to private credit today. In the Agriculture

  Improvement Act of 2018, Congress asked GAO to study agricultural credit services provided to

  SDFRs. 209 Based on numerous interviews, as well as its review of statutes, regulations,

  government and academic literature, and data from multiple sources, GAO reported in 2019 that

  SDFRs “received proportionately fewer loans and less agricultural credit overall than non-




  209
     See Pub. L. No. 115-334, § 5416, 132 Stat. 4490, 4725 (2018). As used in this discussion, SDFR
  includes both minority and women farmers.



                                                                                                 99
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 104 of 133 Page ID #489




  SDFRs.” 210 And it explained how “historical discrimination in agricultural lending adversely

  affects SDFRs’ current ability to obtain private credit in several ways.” 211

              First, “SDFRs who were unfairly denied USDA loans and other program benefits in the

  past have not been able to develop their farms in the same ways as farmers and ranchers who did

  receive loans.” 212 Indeed, as discussed above, discrimination in USDA’s loan programs not only

  impeded minority farmers from “expand[ing] [their] operations and … purchas[ing] land and

  equipment that c[ould] later be used as collateral,” 213 it also actively contributed to the diminution

  of minority farm lands. Consistent with the data and conclusions above, GAO thus reported that

  in 2017, “[o]n average,” SDFR farms continued to be “smaller and br[ing] in less revenue than

  non-SDFR farms.” 214

              All three factors—collateral, farm size, and farm revenue—affect a farmer’s ability to

  obtain private credit. 215 As the GAO explained, “[m]any long-term agricultural loans require the

  borrower to pledge land as collateral to secure the transaction.” 216 It is both easier and less risky

  to lend to larger farms. 217 And “farm revenue is critical to demonstrating a borrower’s capacity to


  210
        GAO-19-539 at 16.
  211
        Id. at 29.
  212
        Id.
  213
        Id.
  214
        Id. at 17.
  215
        See id. at 24-27.
  216
        Id. at 27.
  217
      See id. at 24. As the GAO report explained, lenders have several incentives to lend to larger
  farms, including that (i) operators of smaller farms typically need smaller loans, and making many
  small loans is more time- and resource-intensive than making fewer, larger loans, (ii) large farms
  often produce major commodities such as corn, soybeans, and beef cattle, while small farms often
  produce specialty crops, and underwriting loans to large farms that produce major commodities is



                                                                                                     100
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 105 of 133 Page ID #490




  repay an agricultural loan.” 218 Minority farmers’ unequal access to USDA funds and technical

  assistance historically, which negatively affected them with respect to all three factors, has

  consequently impeded their ability “to get subsequent and larger loans”—or even private loans at

  all. 219

              Second, “historical exclusion from credit markets and farm programs has limited SDFRs’

  familiarity with lending standards and resulted in less formal recordkeeping, which impairs their

  ability to obtain private-sector credit.” 220 And third, “historical discrimination has led generations

  of SDFRs to distrust institutional lenders, making them less likely to apply for credit.” 221 In all of

  these ways, historic discrimination in USDA’s loan programs is impeding SDFRs from accessing

  private credit today.

              A 2021 GAO report likewise noted that the fact that minority farmers are more likely to

  operate smaller, lower-revenue farms contributes to racial disparities in access to private capital

  and commercial loans by minority farmers. 222




  easier and less risky because more data are available on the market for those products, and (iii)
  programs such as crop insurance, which mitigate repayment risk, are geared toward large, major-
  commodity farmers, such that lenders are more likely to approve a loan or provide more favorable
  terms, such as lower interest rates.
  218
        Id. at 25.
  219
        Id. at 29.
  220
        Id.
  221
        Id.
  222
     See GAO-21-399T, Stmt. on the Record to the Subcomm. on Oversight & Investigations,
  Comm. on Fin. Servs. of the House of Representatives, Financial Services: Fair Lending, Access,
  and Retirement Security, (Feb. 2021), https://perma.cc/P6R9-6UQG.



                                                                                                     101
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 106 of 133 Page ID #491




                 4.     Borrower discouragement and distrust of USDA

         Additional data provided by USDA strongly suggest that a history of discrimination in the

  agency’s farm loan programs has fostered distrust among minority borrowers and discouraged

  them from seeking farm loans from USDA. In other words, another cyclical effect of historic

  discrimination at USDA is that minority farmers have become “discouraged borrowers.”

         Substantial economic literature has described the prevalence of “discouraged borrowers.”

  Discouraged borrowers are those who need credit, and would likely obtain credit if sought, but do

  not pursue credit opportunities because of the expectation of being denied. 223 In small business

  finance literature it has also been observed that Black businesses apply for loans less often than

  white businesses largely because they expect to be denied credit, even when they have a good

  credit history and even in settings where strong local banks favor new business development.224

  There is evidence of this in other areas of the economy as well, such as a lower level of



  223
     See, e.g., Mark Freel, Sara Carter, Stephen Tagg, & Colin Mason, Small Business Economics,
  The Latent Demand for Bank Debt: Characterizing “Discouraged Borrowers,” 38 399-412 (2012),
  https://link.springer.com/content/pdf/10.1007/s11187-010-9283-6.pdf; Timothy Bates & Alicia
  Robb, Economic Development Quarterly, Impacts of Owner Race and Geographic Context on
  Access to Small-Business Financing (2015), https://perma.cc/8XXF-Z74N.
  224
      David Blanchflower, Phillip Levine, and David Zimmerman, “Discrimination in the small
  business credit market,” Review of Economics and Statistics, November, 85(4), pp. 930-943 (2003),
  https://perma.cc/C3GQ-DNRQ; Cavalluzzo, Ken and John Wolken, “Small Business Loan
  Turndowns, Personal Wealth and Discrimination,” Journal of Business, 78(6): 2153-2177 (2005),
  https://www.jstor.org/stable/pdf/10.1086/497045.pdf?refreqid=excelsior
  %3A41a388781bd663cb4608712d7aa94987; Rebel A. Cole, Credit Scores and Credit Market
  Outcomes: Evidence from the Survey of Small Business Finances and the Kauffman Firm Survey
  (2014); U.S. Small Business Administration Report, Washington, D.C.; Robert Fairlie, Alicia
  Robb, and David Robinson, “Black and White: Access to Capital Among Minority-Owned
  Startups,” Management Science (2020), https://doi.org/10.1287/mnsc.2021.3998; Alicia Robb,
  Brett Barkley, and Mels de Zeeuw “Mind the Gap: How Do Credit Market Experiences and
  Borrowing Patterns Differ for Minority-Owned Firms?” (2018), https://perma.cc/4LQE-KLZT.



                                                                                                102
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 107 of 133 Page ID #492




  participation in government assistance programs by minorities. 225 Past personal experience, or

  expectations derived from the experience of others, can cause wide discouragement among

  particular groups. Thus, although the data cannot establish the specific reason for an application’s

  withdrawal, certain trends in the data—including lower application submission rates and higher

  application withdrawal rates—may support the conclusion that there are large numbers of

  discouraged borrowers, especially when considered alongside other anecdotal and statistical

  evidence of past discrimination.

         To assess whether minorities are discouraged borrowers when it comes to USDA farm loan

  programs, I received direct loan application data from USDA for the years 2000-2020. I used these

  data to calculate the share of application submission and withdrawal rates for the various racial

  and ethnic groups of applicants, which can be found in the tables and figures below. The data

  provided by USDA, together with the documented history of discrimination against minority

  groups, strongly suggest that at least some minority farmers are discouraged borrowers who either

  do not apply for credit when needed or whose applications are withdrawn on the assumption that

  their applications will be denied.

         First, looking to application rates among the various racial groups, the data show a lower

  share of applicants by minority farmers than would be expected given their historical disadvantage

  in credit markets and USDA’s position as the lender of last resort. Almost every minority group

  constituted well below 10% of USDA loan applicants. American Indians/Alaskan Natives are the

  highest percentage of minority applicants, but they are still an exceedingly small share of

  applicants overall, hovering around the 10% range. White farmers, on the other hand, made up


  225
      Elira Kuka & Bryan Stuart, Nat’l Bureau of Economic Rsch., Racial Inequality in
  Unemployment Insurance Receipt and Take-Up, https://www.nber.org/system/files/working_
  papers/w29595/w29595.pdf
                                                                                                  103
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 108 of 133 Page ID #493
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 109 of 133 Page ID #494
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 110 of 133 Page ID #495




         In general, withdrawn applications had credit assessments that fell somewhere in between

  the credit assessments of approved and rejected applications. 226 This provides evidence that at least

  some minority borrowers’ applications were likely withdrawn because they expected their

  applications to be denied due to distrust fostered by historic discrimination at USDA and not due

  to having poor credit.




         Instead, other evidence supports the conclusion that minorities have lower application

  submission rates and higher withdrawal rates because lack of trust and borrower discouragement


  226
      There are two exceptions. First, for Native Hawaiian/Pacific Islander farmers, the mean credit
  risk assessment for both withdrawn and rejected applications and was actually better than for
  approved applications. However, the sample size for this group was very small. Second, for AI/AN
  farmers, the mean credit risk assessment for withdrawn applications was worse than both rejected
  and approved applications.
                                                                                                    106
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 111 of 133 Page ID #496




  due to past discrimination in USDA farm loan programs. As mentioned earlier in the report, there

  are myriad anecdotal accounts of discrimination against minority farmers in USDA loan programs,

  including allegations that USDA officials did not provide the same levels of assistance to minority

  farmers in completing their loan applications, including:

           -   USDA denying minority farmers’ loan applications at higher rates, arbitrarily, and
               sometimes without explanation;
           -   Minority farmers receiving USDA loans that were smaller, on less favorable terms,
               arriving too late to be useful for that year’s operations, and/or with additional
               requirements not imposed on white farmers,
           -   Minority farmers receiving USDA loans and then having their loans arbitrarily reduced;
           -   USDA not informing minority farmers of loan servicing options or providing the same
               levels of loan servicing to minority farmers

  It is likely that these discriminatory actions over generations created a lack of trust in USDA by

  minority farmers. Indeed, multiple reports, including a 2019 GAO report, have noted that

  “historical discrimination has led generations of SDFRs to distrust institutional lenders, making

  them less likely to apply for credit.” 227 This type of “learned distrust” of USDA loan programs is

  another cyclical effect of prior discrimination at USDA that keeps minorities from seeking needed

  credit that may allow them the same opportunities as white farmers to enter into the business of

  farming and expand their farming operations. 228




  227
        GAO-19-539 at 29.
  228
     Cocciarelli, S., Knox, R., Melone, B., Robinson, A., Larson, R., Godfrey-Smith, H. (2015). The
  CDFI-Farmer of Color Capital Access National Project. MSU Center for Regional Food Systems.
  https://www.canr.msu.edu/foodsystems/uploads/files/cdfi-
  foc_capital_access_final_report_formatted.pdf.
                                                                                                 107
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 112 of 133 Page ID #497




  VIII. Conclusion

          The fact that USDA has discriminated against minority farmers and ranchers in USDA

  farm loan programs has been demonstrated through ample evidence in numerous reports issued by

  the U.S. Commission on Civil Rights, the GAO, and the USDA OIG; as well other reports funded

  by the USDA itself, including the CRAT and Jackson Lewis reports; and in numerous lawsuits

  that have been settled and awarded damages to thousands of minority farmers to the tune of several

  billion dollars.

          We see the lingering effects of this discrimination in the data from the most recent Census

  of Agriculture, which shows that minorities are underrepresented in farming and that, when they

  do farm, minority farms are generally smaller and less profitable than white farms along a number

  of metrics: acreage, market value of production sold, net income, and per-acre productivity. In

  turn, without the requisite collateral and creditworthiness, minority farmers have higher rates of

  delinquency and foreclosure, have more difficulty obtaining government funding as well as private

  credit, and are more likely to be discouraged borrowers. These adverse consequences are the direct

  result of the disadvantaged economic position of minority farmers. And that position is due in no

  small part to decades of discrimination in the lending programs that were supposed to aid and

  support them.

          The debt relief provided in Section 1005 addresses those effects, including by increasing

  minority farmers’ available capital to permit reinvestment in their farm operations, helping to

  ensure that minority farmers who have higher rates of delinquency and foreclosure do not lose

  their farms during a time of national distress, and focusing targeted relief on those groups that have

  been disproportionately left out of previous government funding. While this relief may not fully

  remedy the effects of USDA’s past discrimination against minority farmers, it is an important step

  towards leveling the playing field for minority farmers going forward, and an intervention is
                                                                                                    108
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 113 of 133 Page ID #498




  necessary to ensure that they do not continue to suffer the cyclical effects of prior discrimination

  in USDA’s loan programs.



  Dated: January 7, 2022




  _/s/ Alicia M. Robb_________________________
  Alicia M. Robb, PhD




                                                                                                  109
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 114 of 133 Page ID #499




  List of Appendices

     A. CV of Alicia Robb

     B. List of materials reviewed

     C. Additional Tables

     D. List of Tables and Figures




                                                                           110
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 115 of 133 Page ID #500




  Appendix A: CV of Alicia Robb

                                               Alicia M. Robb
               alicia@nextwaveimpact.com * skype: aliciamrobb * twitter: @aliciarobb

  Education:
  Ph.D. in Economics; University of North Carolina at Chapel Hill
    Dissertation: “The Role of Race, Gender, and Discrimination in Business Survival”
    Fields: Econometrics and Economic Development

  M.S. in Economics; University of North Carolina at Chapel Hill
    Thesis: "The Financial Systems Approach to Microfinance"

  B.A. in Economics; Summa cum laude, St. Mary’s University, San Antonio, TX

  Experience:
  Next Wave Impact
  Founder and CEO: 2015-present
  Designed and launched a learning by doing angel training program and investment fund in the United States in
  2015-2016, bringing together nearly 100 women to make 10 seed stage investments over 12 months. Recruited
  investment team of nine women for the fund who were successful experienced angel investors that drove deal flow,
  lead due diligence, and recommended investments, as well as mentored 90 other women that were new and
  emerging angel investors who made up the rest of the fund members. Coordinated the education and training
  materials for the programs that became part of the public domain and freely available to everyone. Brought
  investment opportunities to the fund and helped to coordinate syndication with other angel groups. Supported
  similar efforts for a Europe program in 2015-2016. In 2017 launched a second fund focused on US impact
  companies following the same model: 99 women, 25 minorities, with an investment committee of 10. Completed
  investments in an initial portfolio of 15 companies, all led by women and people of color.
  www.nextwaveimpact.com. As part of Next Wave Impact, conduct angel investor training and investor readiness
  training workshops around the globe.

  Principal, Marin Economic Consulting/Robb Consulting; 2003-present
  Small business and economic research; data analyses; report writing and review. Current and past clients include:
  Reveal Global Consulting, Facebook, United States Census Bureau, National Women’s Business Council, Securities
  and Exchange Commission, Department of Justice, World Bank, Small Business Administration, United Nations
  Conference on Trade and Development, Minority Business Development Agency, Startup Genome, City of Chicago,
  Chicago Transit Authority, Wayne State University, Kauffman Foundation, Sage Foundation, Foundation for
  Sustainable Development, Rogers Family Coffee Company, Equator Coffees and Teas, and Beacon Economics.

  Ewing Marion Kauffman Foundation
  Senior Fellow: January 2013-December 2016
  Senior Research Fellow: 2008-2013
  Principal Investigator-Kauffman Firm Survey: 2006-2016
  Principal Investigator for the Kauffman Firm Survey; Research on firm dynamics, entrepreneurial finance, and
  entrepreneurship by minorities and women; Organize conferences on entrepreneurship and entrepreneurial finance;
  Provide research support for entrepreneurship initiatives of the Foundation; Present research and data at academic
  conferences, workshops, and trainings.




                                                                                                                 111
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 116 of 133 Page ID #501



  Visiting Scholar: University of Colorado Boulder, 2014-present; Federal Reserve Bank of Atlanta,
  2011-2013 & 2017-2019; University of California, Berkeley, 2013-2017; Basque Institute for
  Competitiveness, San Sebastian, 2012-2014; University of California, Santa Cruz: 2004-2014
  Research topics including entrepreneurial finance, crowdfunding, women’s entrepreneurship, minority
  entrepreneurship, firm performance, discrimination in lending, federal procurement, community development, and
  intergenerational links in self-employment. Write journal articles, book chapters, books, and reports.

  Founder and Executive Director, Foundation for Sustainable Development; 1995-2006
  Directed a non-profit 501(c)(3) organization that supports sustainable development initiatives in Latin America,
  Africa, and Asia; developed and coordinated international programs for university students and professionals;
  developed and managed budget; managed eleven staff and seven fellows in the United States and abroad; managed
  international grant programs and fundraising efforts; wrote grant proposals and reported on program activities.

  Adjunct Professor, University of San Francisco, St. Mary’s College and St. Mary’s University;
  2003-2007
  Taught three week graduate and undergraduate travel courses in economic development during summer break and
  January term. Taught undergraduate courses in economic development, the global economy, and contemporary
  issues in economics.

  Economist, Division of Research and Statistics, Board of Governors of the Federal Reserve System;
  2000-2003
  Worked on all aspects of the Survey of Small Business Finances, a survey conducted by the Board every
  five years, including: survey development, data evaluation, research, and presentations to the Board of
  Governors and Board staff, as well as at academic conferences; researched issues related to small business finances,
  women- and minority-owned businesses, entrepreneurship, and microfinance; prepared briefings, presentations, and
  content for governors’ speeches.

  Adjunct Professor, George Washington University; 2002
  Taught Survey of Economic Development (Econ250), a graduate economics class joint with the Elliot School of
  International Affairs/Economic Department.

  Economist, Office of Economic Research, U.S. SBA; 1998- 2000
  Researched issues related to small business. Prepared written reports, presented at academic conferences, answered
  questions from the public, Congress, and media. Research included: small business’ contribution to net job growth,
  women and minority-owned businesses, and the role of race and gender in firm survival.

  Research Assistant/Instructor/Teaching Assistant, UNC, Chapel Hill; 1995-1998
  Assisted professors with research and administration, including web design and maintenance; Instructed summer
  class in Principles of Economics; Assisted professors with semester classes in Principles of Economics, taught
  recitation classes, graded homework, quizzes, and exams.

  Consultant, World Bank; Nicaragua; Summer 1997
  Adapted and translated microfinance sustainability manual and software for Latin American market; field-tested
  manual and software with microfinance organizations in Nicaragua; provided technical assistance.

  iv.      ILAS/Tinker Foundation Research Grant; Nicaragua; Summer 1997
  Researched informal credit markets, NGO loan funds, and the financial sustainability of microfinance programs in
  Nicaragua; surveyed many microcredit programs; interviewed loan fund managers; analyzed loan portfolios;
  estimated credit risks; provided technical assistance.

  v.       ILAS/Tinker Foundation Research Grant; Honduras; Summer 1996
  Researched informal credit markets and NGO loan funds in Honduras; surveyed microcredit programs; interviewed
  loan fund managers; provided technical assistance.


                                                                                                                   112
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 117 of 133 Page ID #502



  Project Director, Farmer to Farmer/Partners of the Americas; Nicaragua; Summer 1995
  Designed and implemented a Women in Development project funded by USAID; Provided technical assistance to a
  women's cooperative in rural Nicaragua in order to improve the efficiency of their herb production, marketing, and
  distribution methods.

  Staff Economist, Christensen Associates; Madison, WI; 1994-1995
  Estimated price indices, inflation factors, costs, and volumes for various projects; conducted productivity studies;
  calculated annual and quarterly data; performed regression analyses; managed databases.

  Publications and Working Papers
  Books
  Coleman, Susan and Alicia Robb (2016). The Next Wave: Financing Women’s Growth-Oriented Firms (Stanford
  University Press).

  Robb, Alicia, Alexandria Valerio, and Brent Barton, eds. (2014). Entrepreneurship Education and Training: Insights
  from Ghana, Kenya, and Mozambique. (World Bank Publications).

  Valerio, Alexandria, Brent Parton, and Alicia Robb (2014). Entrepreneurship Education and Training Programs
  around the World: Dimensions for Success (World Bank Publications).

  Farhat, Joseph and Alicia Robb (2014). Applied Survey Data Analysis Using Stata: The Kauffman Firm Survey
  Data. Available at SSRN: http://ssrn.com/

  Coleman, Susan and Alicia Robb (2012). A Rising Tide: Financing Strategies for Women-Owned Firms (Stanford
  University Press).

  Fairlie, Robert and Alicia Robb (2008). Race, Families and Business Success: African-American, Asian-, and
  White-Owned Businesses (Cambridge: M.I.T. Press) (Choice, Outstanding Economic Title, 2009)

  Articles
  Hadar Gafni, Dan Marom, Alicia Robb, Orly Sade, Gender Dynamics in Crowdfunding (Kickstarter):
         Evidence on Entrepreneurs, Backers, and Taste-Based Discrimination, Review of Finance,
         December 2020. https://doi.org/10.1093/rof/rfaa041

  Fairlie, Robert W. and Robb, Alicia and Robinson, David T., Black and White: Access to Capital
         Among Minority-Owned Startups. Management Science, Published online in Articles in Advance 29 Nov
         2020.

  Robb, Alicia, and David T. Robinson. "Testing for racial bias in business credit scores." Small
          Business Economics: Volume 50, Issue 3, pp 429-443, March 2018.

  Farhat, Joseph, Sharon Matusik, Alicia Robb, and David T. Robinson. "New directions in
           entrepreneurship research with the Kauffman Firm Survey." Small Business Economics, Volume 50, Issue
           3, pp 521-532, March 2018.

  Farhat, Joseph, and Alicia Robb. "Analyzing complex survey data: the Kauffman Firm Survey." Small
           Business Economics. Volume 50, Issue 3, pp 657-670, March 2018

  Coleman, Susan, and Alicia Robb, “Linking Women’s Growth-Oriented Entrepreneurship Policy and
         Practice: Results from the Rising Tide Angel Training Program.” Venture Capital: An International
         Journal of Entrepreneurial Finance, Volume 20, Issue 2, April 2018.

  Coleman, Susan, and Alicia Robb. “Minding the Gap: Women and Angel Investing” European Business
         Review, 73-77, March-April, 2017.

  Bates, Timothy, and Alicia Robb. “Impacts of Owner Race and Geographic Context on Access to Small
                                                                                                                     113
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 118 of 133 Page ID #503



          Business Financing,” Economic Development Quarterly. Vol. 30(2) 159-170. May 2016.

  Mollick, Ethan, and Alicia Robb. “Democratizing Innovation and Capital Access: The Role of
           Crowdfunding.” California Management Review, Vol. 58, No. 2. February 2016.

  Bates, Timothy, and Alicia Robb. "Has the Community Reinvestment Act increased loan availability
           among small businesses operating in minority neighbourhoods?." Urban Studies (2014).

  Robb, Alicia and Robert Seamans, “The Role of R&D in Entrepreneurial Finance and Performance,”
          Advances in Strategic Management, Volume 31, 341-373 (2014).

  Bates, Timothy and Alicia Robb, “Small-Business Viability in America's Urban Minority Communities",
           Urban Studies, Vol. 51(13) 2844–2862 (2014).

  Robb, Alicia and David Robinson, “The Capital Structure Decisions of New Firms.” Review of Financial
          Studies, Vol 27, No 1 (2014).

  Bates, Timothy and Alicia Robb, "Greater Access to Capital is Needed to Unleash the Local Economic
           Development Potential of Minority-Owned Businesses", Economic Development Quarterly. Volume 27,
           Issue 3, August 2013, pp. 250–259.

  Robb, Alicia and John Watson, “Gender Differences in Firm Performance: Evidence from New Ventures in
          the United States,” Journal of Business Venturing. Volume 27, Issue 5, September 2012, 544–558.

  Coleman, Susan and Alicia Robb, “Unlocking Innovation in Women-Owned Firms: Strategies for
         Educating the Next Generation of Women Entrepreneurs,” Journal of Women's Entrepreneurship and
         Education (2012, No. 1-2, 99-125)

  Coleman, Susan and Alicia Robb, "Capital structure theory and new technology firms: is there a match?",
         Management Research Review, Vol. 35 Issue 2, 2012.

  Coleman, Susan and Alicia Robb, “Financing Strategies of New Technology-Based Firms,” Review of
         Economics & Finance. May 2011.

  Coleman, Susan and Alicia Robb, “Financing Strategies of New Technology-Based Firms: A Comparison
         of Women-and Men-Owned Firms,” Journal of Technology Management and Innovation, Volume
         5, Issue 1, 2010.

  Doms, Mark, Ethan Lewis, and Alicia Robb, “Local Labor Market Education, New Business
         Characteristics, and Firm Performance,” Journal of Urban Economics, Volume 67 (2010) 61–77.

  Robb, Alicia M. and John Watson. "Comparing the Performance of Female- and Male-Controlled SMEs:
          Evidence from the United States and Australia." Frontiers of Entrepreneurship Research 30, no. 8 (2010).

  Coleman, Susan and Alicia Robb, “Sources of Financing for New Women-Owned Firms: Evidence from
         the Kauffman Firm Survey,” Small Business Economics, Volume 33 (4), December 2009.

  Fairlie, Robert and Alicia Robb, “Why do Female-Owned Businesses have Lower Survival Rates, Profits,
            Employment, and Sales, than Male-Owned Businesses?,” Small Business Economics, Volume 33
            (4), December 2009.

  Robb, Alicia M. "Race, Ethnicity, and Gender: An Investigation of New Firm Performance." Frontiers of
          Entrepreneurship Research 28, no. 9 (2008): article 3.

  Bates, Timothy and Alicia Robb, “Crime's Impact on the Survival Prospects of Young Urban Small
           Businesses”, Economic Development Quarterly, August, 2008.

  Robb, Alicia and Robert Fairlie, “Determinants of Business Success: An Examination of Asian-Owned
          Businesses in the United States,” Journal of Population Economics, 2008.
                                                                                                               114
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 119 of 133 Page ID #504




  Bates, Timothy and Alicia Robb, “Analysis of Young Neighborhood Firms Serving Urban Minority
           Clients,” Journal of Economics and Business, Volume 60, Issues 1-2, January/February 2008.

  Robb, Alicia and Robert Fairlie, “Access to Financial Capital among U.S. Businesses: The Case of African
          American Firms,” Annals of the American Academy of Political and Social Science, Volume 613,
          September 2007.

  Fairlie, Robert and Alicia Robb, “Why Are Black-Owned Businesses Less Successful than White-Owned
            Businesses: The Role of Families, Inheritances, and Business Human Capital,” Journal of Labor
            Economics, Volume 25, Number 2, April 2007.

  Fairlie, Robert and Alicia Robb, “Families, Human Capital, and Small Businesses: Evidence from the
            Characteristics of Business Owners Survey” Industrial and Labor Relations Review, Volume 60,
            Number 2, January 2007. (Emerald Citation of Excellence Award 2011)

  Robb, Alicia, "Entrepreneurship: A Path for Economic Advancement for Women and Minorities?," Journal
          of Developmental Entrepreneurship, Volume 7, Number 4, December 2002.

  Robb, Alicia, "Small Business Financing: Differences between Young and Old Firms," Journal of
         Entrepreneurial Finance and Business Ventures, Volume 1, Issue 2, December 2002.

  Bitler, Marianne, Alicia Robb, and John Wolken. “Financial Services Used by Small Businesses: Evidence
           from the 1998 Survey of Small Business Finances” Federal Reserve Bulletin, Vol. 87, April 2001.

  Book chapters
  Coleman, Susan and Alicia Robb, “Reducing the gender gap in angel investing: the Rising Tide Program” in Albert
  N. Link (ed), Gender and Entrepreneurial Activity, Cheltenham, UK and Northampton, MA, USA. Edward Elgar
  Publishing (2017).

  Coleman, Susan and Alicia Robb, “Financing High-Growth Women-Owned Enterprises: Evidence from the United
  States” in Díaz-García, C. Brush, C., Gatewood, E. and Welter, F. (eds), Women’s Entrepreneurship in Global and
  Local Contexts, Cheltenham, UK and Northampton, MA, USA. Edward Elgar Publishing (2016).

  Coleman, Susan and Alicia Robb, “Gender Differences in Innovation among US Entrepreneurs,” in Lewis, Hendry,
  Gatewood, and Watson, editors, Women’s Entrepreneurship in the 21st Century: An International Multi-Level
  Research Analysis. Edward Elgar Publishing (2014).

  Coleman, Susan and Alicia Robb, “Gender Differences in Firm Performance: the Role of Financial Capital,
  Motivations, and Expectations,” in Jennings and Hughes, editors, Women’s Entrepreneurship. Edward Elgar
  Publishing (2011).

  Coleman, Susan and Alicia Robb, “Financing by Women-Owned Firms,” in Douglas Cumming (editor), the Oxford
  Handbook of Entrepreneurial Finance. Oxford University Press (2011).

  Fairlie, Robert and Alicia Robb, “Financial Capital among Minority-Owned Businesses,” in Douglas Cumming
  (editor), the Oxford Handbook of Entrepreneurial Finance (2011).

  Coleman, Susan and Alicia Robb, “Sources of Financing for New Technology Firms: Evidence from the Kauffman
  Firm Survey,” in G. Calcagnini, I. Favaretto (eds.), The Economics of Small Businesses: An International
  Perspective: Springer (2011).

  Reynolds, Paul and Alicia Robb, “The PSED II and the Kauffman Firm Survey,” in Paul Reynolds and Richard
  Curtin, editors, New Firm Creation in the United States: Initial Explorations with the PSED II Data Set (2009).

  Bates, Timothy and Alicia Robb, “Crime's Impact on the Viability of Young Urban Small Businesses” in
  Reengineering Community Development for the 21st Century (2008).
                                                                                                                    115
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 120 of 133 Page ID #505




  Bates, Timothy and Alicia Robb. “Revitalizing Inner-City Minority Communities by Creating and Expanding Small
  Businesses,” in Enterprise and Deprivation: Small Business, Social Exclusion, and Sustainable Communities”, ed.
  Alan Southern. London: Routledge (2008).

  Fairlie, Robert and Alicia Robb. "Families, Human Capital, and Small Business: Evidence from the
  Characteristics of Business Owners Survey," in Entrepreneurship and Human Capital, ed. Mirjam van Praag,
  Amsterdam: Amsterdam Center for Entrepreneurship. (2006).

  Robb, Alicia, “New Data for Dynamic Analysis: The Longitudinal Establishment and Enterprise Microdata
  (LEEM),” in Jerome Katz, ed., Advances in Entrepreneurship, Firm Emergence and Growth, Volume 4. Greenwich
  CT: JAI Press. (2000).

  Reports and Working papers
  Robb, A., Barkley, B. and de Zeeuw, M, 2018. “Mind the Gap: How Do Credit Market Experiences and
  Borrowing Patterns Differ for Minority-Owned Firms?” Federal Reserve Bank of Atlanta.

  Robb, Alicia and John Wolken, “Firm, Owner, and Financing Characteristics: Differences between Female- and
  Male-owned Small Businesses” Federal Reserve Working Paper Series: 2002-18.

  Acs, Zoltan, Catherine Armington, and Alicia Robb, 1999, “Measuring Job Flow Dynamics in the U.S. Economy,”
  Center for Economic Studies, U.S. Bureau of the Census, CES Discussion Paper 99-1.

  Headd, Brian, and Alicia Robb, “Characteristics of Small Business Owners and Employees,” in the State of
  Small Business 1999, Office of Advocacy, U.S. Small Business Administration.

  Robb, Alicia, 1999. "Minorities in Business," Office of Advocacy, U.S. SBA, Washington, D.C.

  Alicia Robb, “New Data for Analysis of Small Business Job Creation,” in the State of Small Business 1998,
  U.S. Small Business Administration, Office of Advocacy.

  Robb, Alicia, 1998. "Women in Business," Office of Advocacy, U.S. SBA, Washington, D.C.

  Other Activities:
  Board of Directors, Kachuwa Impact Fund (2020-present)
  Board of Directors, Deming Center Venture Fund (2015-present)
  Board of Directors, Next Wave Foundation (2017-present)
  Committee Member, Angel Capital Association Summit, Impact Track Lead (2018-present)
  Advisory Board, Good Food Institute (2016-2021)
  National Advisory Council for Global Entrepreneurship Week (2013-2017)
  Visiting Scholar, University of California, Berkeley (2013-2017)
  Visiting Scholar, University of Colorado, Boulder (2014-present)
  Visiting Scholar, Federal Reserve Bank of Atlanta (2010- 2013; 2017-2019)
  National Advisory Council for Minority Business Enterprise (2011-2014)
  Member, OECD Pilot Scoreboard on SME Financing (2009-2011)
  Member, G20 Working Group on SME Financing (2009-2011)

  Reviewer for journals such as Management Science, Journal of Labor Economics, Journal of Business Venturing,
  Entrepreneurship Theory & Practice, Small Business Economics, and Journal of Economics and Management
  Strategy, Economics of Innovation and New Technology, and Expert Reviewer of proposals for groups such as the
  National Science Foundation and the Center for Economic Studies, U.S. Census Bureau.

  Work cited in publications such as the Economist, Wall Street Journal, New York Times, Inc. Magazine, Washington
  Post, Business Week, CNNMoney.com, Forbes, Boston Globe, Christian Science Monitor, Independent Banker, and
  Huffington Post.

                                                                                                               116
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 121 of 133 Page ID #506




  Appendix B: Reports, Audits, and Other Documents that were reviewed

  A.    Equal Opportunity in Farm Programs: An Appraisal of Services Rendered by Agencies of
        the United States Department of Agriculture: U.S. Commission on Civil Rights, 1965
  B.    Civil Rights Under Federal Programs: An Analysis of Title IV of the Civil Rights Act of
        1964, A Report of the U.S. Commission on Civil Rights, 1968
  C.    Federal Civil Rights Enforcement Effort, US Commission on Civil Rights, 1970
  D.    The Decline of Black Farming in America: A Report of the United States Commission on
        Civil Rights, February 1982
  E.    Information on Agricultural Credit Provided to Indians on 14 Reservations, GAO, 1987
  F.    Hearing on the Decline of Minority Farmers in the US, Committee on Government
        Operations, US House of Representatives, 1990
  G.    1997 Report: Civil Rights at the United States Department of Agriculture, A Report by
        the Civil Rights Action Team (CRAT Report), February 1997.
  H.    Evaluation Report on Civil Rights Issues — Phase I, Report No. 50801-2-Hq(1), dated
        February 27, 1997
  I.    Minority Participation in Farm Service Agency’s Farm Loan Programs — Phase II,
        Report No. 50801-3-Hq, dated September 29, 1997.
  J.    Implementation of OIG’s Recommendations — Department’s Civil Rights Complaint
        System and the Direct Farm Loan Program: Evaluation Report No. 50801-5-Hq March
        1998
  K.    A Qualitative Study of Civil Rights Implications in Farm Loan Program Administration:
        Perceptions and Vulnerabilities, 1998.
  L.    “Civil Rights at the United States Department of Agriculture: One Year of Change”
        Prepared by the Civil Rights Implementation Team (CRIT): CRIT Report (March, 1998)
  M.    1998 USDA National Commission on Small Farms
  N.    Lawsuits dealing with USDA discrimination against minority farmers (Pigford, Pigford
        II, Keepseagle, and Garcia)
  O.    Audit Report No. 60801-03-Hq, Office of Civil Rights Management of EEO complaints,
        issued March 2000
  P.    Audit Report: Office of Civil Rights Status of the Implementation of Recommendations
        Made in Prior Evaluations of Program Complaints. Audit Report No. 60801-4-Hq, March
        2000
  Q.    Dispossession (Book)
  R.    2005 OIG Audit: Audit Report: Minority Participation in Farm Service Agency’s
        Programs, Report No. 03601-11-AT, November 2005
  S.    Farm Service Agency Direct Loan Program Effectiveness Study, University of Arkansas,
        June 2005

                                                                                             117
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 122 of 133 Page ID #507




  T.    Lending on Native American Lands: A Guide for Rural Development Staff (June 2006)
  U.    USDA OIG Northeast Region, Audit Report, “Review of the U.S. Department of
        Agriculture’s Accountability for Actions Taken on Civil Rights Complaints,” (May 2007)
  V.    Recommendations and Options to Address Management Deficiencies in the Office of the
        Assistant Secretary for Civil Rights, October 2008, GAO-09-62
  W.    Management of Civil Rights Efforts Continues to Be Deficient Despite Years of
        Attention. May 2008, GAO-08-755T
  X.    Hearing Before The Subcommittee on Government Management, Organization, &
        Procurement of the Committee on Oversight & Government Reform House of
        Representatives 110th Congress Second Session May 14, 2008 Serial No. 110–137
  Y.    USDA OIG Southwest Region, Audit Report, “Farm Service Agency, Socially
        Disadvantaged Borrower Foreclosures—Farm Program Loans” (June 2009)
  Z.    Jackson-Lewis—Independent Assessment of the Delivery of Technical and Financial
        Assistance, Contract AG-3142-C-09-0049, Civil Rights Assessment, March 31, 2011
  AA.   Garcia v. Vilsack: A Policy and Legal Analysis of a USDA Discrimination Case,
        February 2013.
  BB.   2019 GAO Report: Information on Credit and Outreach to Socially Disadvantaged
        Farmers and Ranchers Is Limited, July, 2019, GAO-19-539
  CC.   INDIAN ISSUES Agricultural Credit Needs and Barriers to Lending on Tribal Lands.
        May 2019, GAO-19-464
  DD.   Report to Congress: A Comparison of Transfers and Subsidies to Minority and Non-
        Minority Producers Associated with Key Farm and Conservation Programs, August 2021
  EE.   Congressional Record, March 5, 2021, Testimony for Section 1005, 167 Cong. Rec.
        S1264
  FF.   Decennial Census conducted by the U.S. Census Bureau (1920-2020)
  GG.   Census of Agriculture conducted by the USDA (1920-2017)
  HH.   Allen R. Thompson & Michael Green, USDA, ESS Staff Report, NRED 80-4, The Status
        of Minority Farms in the United States, (“1974 Rep.”)
  II.    Charles Dodson & Steven Koenig, Evaluating the relative cost effectiveness of the Farm
        Service Agency’s farm loan programs, USDA FSA Report to Congress (August 2006)
        (“Dodson & Koenig 2006”), available at https://perma.cc/HNT2-BNCV
  JJ.   Cong. Rsch. Serv. (“CRS”), Agricultural Credit: Institutions and Issues, R-46768 (April
        21, 2021)
  KK.   GAO-21-399T, Stmt. On the Record to the Subcomm. On Oversight & Investigations,
  LL.   Comm. On Fin. Servs. Of the House of Representatives, Financial Services: Fair
        Lending, Access, and Retirement Security, (Feb. 2021), https://perma.cc/P6R9-6UQG
  MM. House Ag. Comm. Hr’g on USDA Oversight (July 22, 2015)


                                                                                             118
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 123 of 133 Page ID #508




  NN.   Hr’g on Mgmt. of Civil Rights at the USDA before the House Subcomm. On Gov’t
        Mgmt., Org., & Procurement, Comm. On Oversight and Gov’t Reform, 110th Cong.
        (2008), (“2008 Senate Ag. Hr’g”)
  OO.   Hr’g on the USDA’s Civil Rights Prog. For Farm Prog. Participants before House Sub-
        comm., Dep’t Ops., Oversight, Nutrition, and Forestry, Comm. on Ag., 107th Cong. 23,
        (2002) (2002 Civil Rights Hr’g)
  PP.   James MacDonald, Robert Hoppe, & Doris Newton, USDA, Three Decades of
        Consolidation in U.S. Agriculture, EIB-189 (March 2018), https://perma.cc/XZ6R-
        XZVN
  QQ.   Jon Wainwright & Collette Holt, Transportation Research Board, Guidelines for
        Conducting a Disparity & Availability Study for the Federal DBE Program, Rep. 644
        (2010), https://perma.cc/CFY4-AWA9
  RR.   Kauffman Firm Survey, which tracked firms over 2004-2011 period, by the Kauffman
        Foundation. Joseph Farhat & Alicia Robb, Applied Survey Data Analysis Using Stata:
        The Kauffman Firm Survey Data, (2014), https://perma.cc/9KBU-HUG7
  SS.   Mark Freel, Sara Carter, Stephen Tagg, & Colin Mason, Small Business Economics, The
        Latent Demand for Bank Debt: Characterizing “Disorganized Borrowers,” 38 399-412
        (2012), https://link.springer.com/content/pdf/10.1007/s11187-010-9283-6.pdf
  TT.   Report of Lynn A. Hayes, Keepseagle v. Vilsack, 1:99-cv-3119-EGS, ECF No. 551-25
        (Feb 20, 2009)
  UU.   Report of William T. Bielby, Keepseagle v. Vilsack, 1:99-cv-3119-EGS, ECF No. 551-51
        (Feb 20, 2009)
  VV.   Timothy Bates & Alicia Robb, Economic Development Quarterly, Impacts of Owner
        Race and Geographic Context on Access to Small-Business Financing (2015),
        https://perma.cc/8XXF-Z74N
  WW. USCCR, Ten-Year Check-Up: Have Federal Agencies Responded to Civil Right
      Recommendations, vol. III (June 12, 2003) (“USCCR 2003”)
  XX.   USDA, 2007 Census of Agriculture, https://perma.cc/GD57-RF7R at 3, Column: Every
        Voice Counts
  YY.   USDA Announces [CFAP], USDA (Apr. 17, 2020), https://perma.cc/B7N9-PTRE
  ZZ.   USDA, Market Facilitation Program, https://perma.cc/947S-7JCX
  AAA. USDA-NASS, 2017 Race/Ethnicity/Gender Profile from the 2017 Census of Agriculture
       (NASS), https://perma.cc/FPW3-VUMV
  BBB. USDA-NASS Montana Field Off., U.S. American Indian Agriculture at a Glance,
       https://perma.cc/HHB3-UFJ5
  CCC. USDA, National Commission on Small Farms, A Time to Act (Jan. 1998)
       https://perma.cc/NZY6-PPFW
  DDD. USDA Direct Loan Data (2000-2010)


                                                                                             119
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 124 of 133 Page ID #509




  EEE. Nathan Rosenberg, “Farmers Who Don’t Farm: The Curious Rise of the Zero-Sales
       Farmer,” Journal of Agriculture, Food Systems, and Community Development, October,
       1–9, 2017, https://perma.cc/AD8N-MX9M
  FFF.   ERS report, Rural America at a Glance, 2018 Edition, https://perma.cc/C24E-QTQ8
  GGG. ERS, What is Rural, https://perma.cc/V3FT-NMM9
  HHH. Elira Kuka & Bryan Stuart, Nat’l Bureau of Economic Rsch., Racial Inequality in
       Unemployment Insurance Receipt and Take-Up:
       https://www.nber.org/system/files/working_papers/w29595/w29595.pdf
  III.   Susan Cocciarelli, Reggie Knox, Brett Melone, Ali Robinson, Rick Larson, Helen
         Godfrey-Smith, The CDFI-Farmer of Color Capital Access National Project. MSU
         Center for Regional Food Systems., (2015), https://perma.cc/46T5-YZF5
  JJJ.   Paul Nightingale, & Alex Coad, Muppets and gazelles: political and methodological
         biases in entrepreneurship research, Industrial & Corporate Change, 23(1), 113-143
         (2014), https://perma.cc/C6AY-57G8
  KKK. Gavin Cassar, “The financing of business start-ups,” Journal of Business Venturing 19.2
       (2004): 261-283, https://perma.cc/FP3E-XCWK
  LLL. Rebel A. Cole, Credit Scores and Credit Market Outcomes: Evidence from the Survey of
       Small Business (2014), https://perma.cc/A4PZ-5L6X.
  MMM. Peter A. Morrison, ‘“Lingering effects’ of discrimination: tracing persistence over time in
       local populations,” Population Research and Policy Review, 25.2 (2006): 127-139,
       https://perma.cc/5KD6-KG27
  NNN. Jeremy R. Porter, “Plantation economics, violence, and social well-being: The lingering
       effects of racialized group oppression on contemporary human development in the
       American South,” Journal of Human Development and Capabilities 12.3 (2011): 339-
       366, https://perma.cc/EZ5M-HDYV
  OOO. USDA-ERS, Atlas of Rural and Small-Town America, https://perma.cc/8S8S-ABFY
  PPP.   Terry L. Anderson & Dean Lueck, Land Tenure and Agricultural Productivity on Indian
         Reservations, The Journal of L. & Econs., 35(d), 427-454 (1992), https://perma.cc/777V-
         EBBN
  QQQ. Rafter Ferguson, Losing Ground Farmland Consolidation and Threats to New and Black
       Farmers and the Future of Farming (2021), https://perma.cc/SL2C-MTCQ
  RRR. Veenman, Justus. "Measuring labor market discrimination: An overview of methods and
       their characteristics." American Behavioral Scientist 53.12 (2010): 1806-1823
  SSS.   La Noue, George R. "Standards for the second generation of Croson-inspired disparity
         studies." The Urban Lawyer (1994): 485-540
  TTT. The Equal Opportunity Commission Uniform Guidelines (29 CFR 1607(D):
       www.law.cornell.edu/cfr/text/29/1607.4)
  UUU. Lindsey M. Burke & Jude Schwalbach, “Housing Redlining and Its Lingering Effects on
       Education Opportunity, Backgrounder. No. 3594,” Heritage Foundation (2021),
       https://perma.cc/8FXN-XL49
                                                                                                120
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 125 of 133 Page ID #510




  VVV. GAO-21-399T, Stmt. on the Record to the Subcomm. on Oversight & Investigations,
       Comm. on Fin. Servs. of the House of Representatives, Financial Services: Fair Lending,
       Access, and Retirement Security, (Feb. 2021), https://perma.cc/P6R9-6UQG
  WWW.       David Blanchflower, Phillip Levine, and David Zimmerman, “Discrimination in the
      small business credit market,” Review of Economics and Statistics, November, 85(4), pp.
      930-943 (2003), https://perma.cc/C3GQ-DNRQ
  XXX. Ken Cavalluzzo and John Wolken,” Small Business Loan Turndowns, Personal Wealth and
       Discrimination,” Journal of Business, 78(6): 2153-2177 (2005), https://www.jstor.org/stable
       /pdf/10.1086/497045.pdf?refreqid=excelsior%3A41a388781bd663cb4608712d7aa94987
  YYY. Robert Fairlie, Alicia Robb, and David Robinson, “Black and White: Access to Capital
       Among Minority-Owned Startups,” Management Science (2020), https://doi.org/10.1287/
       mnsc.2021.3998
  ZZZ. Alicia Robb, Brett Barkley, and Mels de Zeeuw “Mind the Gap: How Do Credit Market
       Experiences and Borrowing Patterns Differ for Minority-Owned Firms?” (2018),
       https://perma.cc/4LQE-KLZT
  AAAA.     Agriculture, Rural Development, Food & Drug Administration, & Related
      Agencies Appropriations Bill, 2020, H. Rep. 116-107 (2019)
  BBBB. USDA, Internal Report of Farm Loan Programs
  CCCC. USDA-NASS, Agricultural Resource Management Survey 2017-2019




                                                                                              121
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 126 of 133 Page ID #511




  Appendix C: Additional Tables




                                                                           122
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 127 of 133 Page ID #512




                                                                           123
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 128 of 133 Page ID #513




                                                                           124
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 129 of 133 Page ID #514




                                                                           125
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 130 of 133 Page ID #515




                                                                           126
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 131 of 133 Page ID #516




                                                                           127
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 132 of 133 Page ID #517




  Appendix D: List of Tables and Figures

  List of Tables

  Table 1. Number of Borrowers by Race and Economic Class
  Table 2. Number of Farms and Percentage of Farms by Race/Ethnicity, 1978-2017
  Table 3A. Number of U.S. Producers by Race/Ethnicity, 2017 versus 2010 Population
  Table 3B. Number of U.S. Producers by Race/Ethnicity, 2017 versus 2010 Rural Population
  Table 3C. Top Five States by % of Farms by Race/Ethnicity, 2017 and Shares of Population
  (2010) and Farms (2017)
  Table 3D. Top Five States by % of Farms by Race/Ethnicity, 2017 and Shares of Rural
  Population (2010) and Farms (2017)
  Table 4. Selected Farm Characteristics by Principal Producer Race/Ethnicity, 2017
  Table 5. Share of Farms by Selected Farm Characteristics and Principal Producer
           Race/Ethnicity, 2017
  Table 6. Distribution of Farms by Principal Producer Race/Ethnicity, 2017
  Table 7. Top Five States by % of Farms by Race/Ethnicity, 2017: Average Farm Size (acres)
  Table 8. Farms, Acreage, Income, and Expenses by Producer Race/Ethnicity, 2017
  Table 9. Selected Farm Characteristics by Principal Producer Race/Ethnicity, 2017
  Table 10. Agricultural Activity on 76 Selected Indian Reservations, by Primary Farm or Ranch
           Operator (2012)
  Table 11. Average farm and household characteristics by SDFR status
  Table 12. Median farm and household characteristics by SDFR status
  Table 13. Additional Producer Characteristics, 2017
  Table 14. Share of New and Beginning Farmers versus All Producers by Race/Ethnicity, 2017
  Table 15. Number of U.S. Producers by Race/Ethnicity (2017) versus 2010 Population
  Table 16. Shares of Market Value and Farms by Type of Agriculture Products Sold and Shares
  of Livestock, 2017
  Table 17. Cattle Farming and Ranching, 2017
  Table 18. Farms Loan Programs Direct and Guaranteed Loans with Unpaid Debt Balances of
            Minority Borrowers
  Table 19. Farm Loan Programs Direct and Guaranteed Loans with Unpaid Debt Balances of
            Minority and Non-Minority Borrowers
  Table 20. Market Facilitation Program Data, Program Years 2018-2019
  Table 21. Coronavirus Food Assistance Program Data, through January 27, 2021
  Table 22. Credit Risk Assessment by Race/Ethnicity (2000-2020)

  List of Figures

  Figure 1. Average Loan Size by Race and Economic Class
  Figure 2. Average Loan Size Per $1000 of Net Worth by Race and Economic Class
  Figure 3. Share of US Population by Race and Ethnicity (1940-2010)
  Figure 4. Farms by Producer Race (1920-2017)
  Figure 5. Share of U.S. Farms by Producer Race/Ethnicity (1978-2017)
  Figure 6. Percent of Rural and Urban Populations by Race/Ethnicity, 2017
  Figure 7. Farm Size by Race/Ethnicity, 2017
                                                                                             128
Case 3:21-cv-00540-NJR Document 48-7 Filed 02/01/22 Page 133 of 133 Page ID #518




  Figure 8. Delinquency Rates for Direct Loans by Race/Ethnicity
  Figure 9. Share of Loan Applications by Race/Ethnicity (2000-2020)
  Figure 10. Share of Loan Applications Withdrawn by Race/Ethnicity (2000-2020)

  List of Tables in Appendix C

  Table 1. Population by Race and Ethnicity (1940-2020)
  Table 2. Share of U.S. Farms Owned by Whites, Blacks and Other Race (1920-2017)
  Table 3. Population Shares by State, Race, and Ethnicity, 2010
  Table 4. Top Five States by % of Farms by Race/Ethnicity, 2017
  Table 5. Distribution of Farms and Acreage by State, Race, and Ethnicity, 2017
  Table 6. Average Farm Income by Type of Farming and Race/Ethnicity, 2017
  Table 7. Number and Share of Loan Applications by Year, Race, and Ethnicity (2000-2020)
  Table 8. Application Withdrawal Rates by Year, Race, and Ethnicity (2000-2020)




                                                                                            129
